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           EXHIBIT                             95
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                                                                                                                                      2-3


                                                                   Complaint




Plaintiff                   School                     Corporation       Dongguk      University

                                                       26 Pil-dong 3-ga Jung-gu              Seoul


                            Representative              Yong Taik       Tm    Chairman

                            Attorney of the above                 plaintiff    Dongsuwon           Law   Corporation


                            Responsible Attorney                  Sung    Bae Namkung          Chol      Hwan     Wee Yo Hum        Lee

                            Sungjun Bldg               406
                            83-23       Wonchun-dong              Yongtonggu Suwon-si
                                        031-21 1-5723             FAX     03 1-21 1-5726


Defendant                   Minister       of Education           Science      and Technology

                                                       55 Sejong-no           Chongno-gu      Seoul




Action of cancellation                 request    for   disposition      of preliminary       approval      rejection

                                                               Intent    of request

        The   disposition       that    Defendant has rejected preliminary                   approval      on     law school   with

        respect   to   Plaintiff       on 2/4/2008        shall   be cancelled

        Defendant       shall   be responsible           for   the expenses      of   litigation


        Judgment       as in the above           is   requested




                  footer

83-23    Wonchun-dong Yongtonggu                        Notary      Dongsuwon     Law    Corporation        Tel   031    211-5723


Suwon-si                                                Public                                              Fax    031   211-5726


Sungjun       Bldg 406
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                                                       Cause of Request




    Progress      of this case disposition




   Plaintiff




   The   plaintiff     represents         the    first   Buddhist         order-founded            university        of the Daehan

   Empire which was                 established          by pioneers          of the Buddhism               circle   as the central

   educational        institute     for    new age           education     in    1906

   The   plaintiff     has     cultivated        numerous           talents     in   the legal     profession         including


   supreme        court justices       and judges             for   the Constitutional           Court and contributed                    to


   national       development         since      its   department of law was newly                          established        in    1949

   Exhibit Kap         No
   In the      meantime        as   social      demands         for legal       services     of high quality            that    would meet

   with varied       expectations              and desires of people have increased                           the act    concerning

   installation      and operation             of the law school           was       established        as part of judicial reform


   on 7/27/2007          As such          the plaintiff         invested        according        to   all    bases   including          the


   above       act enforcement            ordinance           and approval           standards         approximately 20                billion


   won    for the expenses           required          for   new     construction          and renovation            of such         facilities


   including       an exclusive        law school             library newly           appointed        over 20 professors

   including      six that     had Korean              lawyer qualifications and completed hands-on training

   organized       approximately 30               billion      won     of scholarship         funds          and strived        to    organize

   the education        curricula         in   which      the Culture         and Industry            Act was chosen            as


   specification       area to      reinforce          versatility      specialization           and specification              so that


   teachers       facilities    and curricula            required      by the        act   above might be            faithfully


   furnished


   Further the       plaintiff      submitted based on the above                           Act an      application        for



   preliminary       approval        for establishment               of       law school      to      the defendant            on

   11/30/2007        Exhibit Kap               No
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              Defendant




              The    defendant              is    the person with the authority                       who may          determine       approval        if   there   is



              an application               for     approval       of    installation        of        law school         taking      the validity of the

              educational             goals       and curricula              satisfaction        of the    installation          standards        etc of      the


              plaintiff      into         account        according        to    the Act concerning               Installation        and Operation            of

              Law      School the Act concerning                              Installation           and Operation          of     Law      School Article

              and made an             official        announcement                  of 25 universities           in    Seoul      capital    and provincial

              regions      as    those with preliminary                        approval        through      each press agency               on 2/4/2008




        Regarding related laws and ordinances



        The    basic    law of            this    case     disposition         is   the Act      concerning           Installation       and Operation            of

          Law      School            and    its    key provisions              are listed      below



Act concerning               Installation            and Operation               of     Law      School

        Article            Installation             Principle                           founder/operator               of     university       Refers        to   the

state    in   case    of      national            university             local      government           in case       of    public      university         and

school        corporation            in    case     of      private      university            respectively           Hereinafter        the    same applies

may      install     and operate                  law school        whose primary                objective       deals      with     education      and

research        on   legal      theories and practices                       required     to    cultivate    legal       professionals

     Article               Standards               for Approval              of an Installation                   The       Minister     of Education

Science        and Technology                     may      if   there   is      request        for    approval        for installation       of    law

school        according         to    Article            Clause           consider       the validity of the educational                       goals    and

curricula       intended         to       achieve        the educational              vision     according        to    Article        satisfaction          of the

installation         standards             etc      into    account and approve
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         Any     detailed     standards            required        concerning         approval       of the        installation        in   Clause

shall   be prescribed        by   the minister              of Education            Science     and Technology

      Article    10 Installation                 and Function            of   Law   Education        Committee                   The law          education


committee        shall    be placed            under the minister             of Education          Science          and Technology               in   order


to   review     each of the following                  concerning             law school

                 Details     concerning             approval         for the installation         of         law school          including          the

                 details    concerning             installation          of    law school       that        is   established      in        national


                 university

                 Details    concerning             approval         of abolishment            of and changes               in     law school

                 including        details         concerning             abolishment       of and changes             in        law school

                 established         in        national      university

                Details     concerning             the quota of an individual                  law school

                 Details    concerning             detailed standards               for   approval          for   the installation           of     law

                school

                Other      details        that    the minister           of Education         Science            and Education          adds

                concerning        cultivation               of   legal    professionals       and law education                  of     law school

      Article    11    Organization               of   Law       Education      Committee                               The law         education


committed       shall     consist of 13            members           including       one chairperson

        The     chairperson          shall       be appointed             from among the members                      according         to    Clause

by the minister          of Education             Science         and Technology

        The members            shall       be appointed             by    the minister      of Education              Science          and

Technology        from those         to        which the following              apply

                Law      school      professor          or associate          professor         persons

                      judge with          at   least   10    years       of experience        who      is   recommended                by   the


                commissioner               of National            Court Administration                      person
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                  prosecutor         with      at least        10    years    of experience       who     is   recommended by             the


             minister       of Justice               person

             An      attorney with           at   least    10       years of experience           who    is   recommended by             the


             chairman of the Korean                       Bar Association                 persons

                  government              official      who     has    at    least   10   years of experience           in education


             administration                  person

                  person with academic                    knowledge            and reputation          excluding        those     who hold      the


             title    of full-time instrnctor of law or higher                            and have lawyer qualifications


             persons

   Article   13      Reasons         for    Exclusion           as      Law     Education      Committee              Member        The

member    shall   not   become            involved        in   the review        concerned        if   any of the following             apply   to


himlher

             The      instance       in    which the principal or his/her spouse                         is   employed       in   the


             University       targeted            for   review        or the school        corporation         that   installs    and operates

             such university

             The     instance        in which           the principal or his/her             spouse has            kinship    relation


             according       to      the Civil          Code        Article     777 with          person      to   which   any of the

             following       apply

                  President       of the university                  under       review

                  Teacher       in    the law department                     undergraduate        law school          or law school        of the

                     university       under review

                  Officer    of the school               corporation           for   the university       under review




      Illegal     nature    of    this      case     disposition




      Illegal     nature    of organization               of the law school               committee




             The Act concerning                   installation         and operation         of     law school         prescribes
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      installation             of the law education            committee           consisting             of 13 persons              as     its   review

      agency        in    order to       promote appropriateness                   of    installation          approval           and quota

      determination              Article         10     As such       the defendant                 appointed        13      persons           as

      members of               the law      education        committee          and designated               In    Nyung         Shin from


      among them                as the chairperson                            Kap       No
      The law        education           committee has the authority                       to     review the         details         concerning

      approval           for   the installation         of     law school            its     quota allocation                  and    details



      concerning           detailed standards               of such        installation           approval

      On     the other         hand      in   order to promote              appropriateness               and fairness of the review

      process        above        the reasons         for exclusion           of        member of            the law education


      committee            are prescribed          in    Article      13    of the Act concerning                    Installation                 and

      Operation           of      Law      School       Thus the reasons for exclusion                             of     member of                 the


      law education              committee         are prescribed             such      that
                                                                                                    person for whom                    it   is    found

      that   the     instance         in   which the principal or his/her spouse                              is   employed               in     the


      University           targeted        for   review      or the school          corporation             that     installs        and operates

      such university               and the instance             in    which       the principal or his/her spouse has


      kinship       relation        according         to   the Civil        Code        Article       777 with                 person          who      is



      the    president of the university                    under review                 teacher       in    the law department


      undergraduate              law school         or law school            of the university               under review                   or an

      officer      of the school              corporation      for    the university                under review               shall        not be


      involved        in   such        review

      Nevertheless              the defendant           committed           such an        illegal     act    that      may      not be


      comprehended                in which        he appointed             professor         In     Nyung Shin            as   its    chairperson

      who     currently          holds      office in the School              of   Law         in   Ewha Womens                  University

      which        applied       for approval           for establishment               of        law school            and appointed                   as   its



      members            professor         Hyo Shin        Kim who            currently           holds     office      in     the School              of

      Law     in    Kyungbuk          National          University professor                    Byung Seok              Jung who

      currently       holds       office in the School               of    Law     in   Chonnam              National          University and

      professor          In Sop     Han who             currently      holds       office in the            School of           Law         in    Seoul


      National       University
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         Under       the situation         that     public     interest   in    the approval         for   establishment       of        law

         school      has    greatly       increased       and the      relations        of   interests     among    applying

         universities are in sharp                  confrontation            this act   of appointing         the person      who        held


         office in the university                 under review         cannot       possibly       be ignored

         Basically         the reasons          for exclusion         refer    to   reasons        by which        person    who     is   in



         special relation with respect                    to     specific      incident       is   prohibited      from performing

         duties concerning               the incident          This   represents         the system in which               party    is



        prohibited         from performing duties based on the reason of                                     special relation       out of


         concern      for    fair     performance          of his/her duties            whether he/she          has      performed

        his/her duties fairly              or not


        Therefore           it   is   evident     that   all   the acts   of review performed                by    the   members

        above     after      they      had been appointed              for    the law education             committee       are illegal

        acts   in violation of the reasons                     for   exclusion      based on the following                aspects




   Illegal   nature    of    installation         approval       based on       willftil      selection method




        The dependant                 stated    through the notice            of request        for approval       for   installation      of

             law school          Notice        No    2007-120          according        to    the Act      above   on 10/30/2007

        that   the    selection         method       regarding        the approved           university      should      be based on

        the following




                                                               Following
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 The purpose          shall    be the cultivation        of excellent       legal       professionals              and selection        shall   be

 made     taking      regional     balances     into    consideration


 The    entire    nation      shall    be established       as        major regions       based on the units of the High

 Court jurisdiction            and excellent universities selected                     for installation             approval      within     each

region




                 High Count Location                                                    Region


                              Seoul                               Seoul    Kyunggi          Inchun           Kangwon


                              Taijon                                  Taijon     Chungnam Chungbuk


                              Taigu                                             Taigu     Kyungbuk


                              Pusan                                      Pusan Kyungnam Ulsan


                         Kwangju                               Kwangju          Chonnam Chonbuk                       Cheju




While      regional     balances        may   be taken         into   account     in    selecting the universities with

installation       approval       within    each region any university                   that    is   judged        to    be inappropriate

for    installation     and operation         of     law school          based on         review           shall    not   be selected

      law school      including         the admission
                                                               quota of individual              graduate           school     shall     be

approved         for installation       by the minister          of Education           Science            and Technology              upon the

review by the law education                   committee




  On     the other     hand       according     to   the results        of the review           of the Seoul             region   to   which

  the plaintiff       belonged          disclosed      on 1/15/2008             15 universities out of 24 applicant


  universities in the Seoul region                   were      selected     but    13    universities ranked ito                   13     the

  i5 ranking           Inha      Univ      and the      19th
                                                                 ranking    Kangwon             National           Univ      were       selected


  in terms       of rankings which represents                    the results      according           to    the so-called         principle of


  regional
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   balance       in    which the universities located                     in    Kyunggi        Province            Kangwon                Province        and

   Inchun Metropolitan                 City were         preferentially selected                   for    the Seoul          region and the

   universities were               allocated to the universities                  located      in    Seoul       according           to     the quota




   However         regarding          the method           for   selecting approved                 universities announced                         by   the


   defendant          its   principle       is   such   that     the entire      nation      shall       be established             as          major

  regions    based on the units of the High Court jurisdiction                                           with     excellent         universities


  selected    as      those with        installation           approval       within        each region and                      supplementary

  and exceptional                selection       method        seems     to   be presented               wherein While                   regional

  balances       may        be taken       into account          in   selecting the universities with installation


  approval       within          each region any university                     that   is   judged        to    be inappropriate                 for


  installation         and operation             of     law school based               on     review           shall   not be selected




  Then      the method             of selection for preliminary                   approval          in    the    Seoul       region        discloses          its




  appropriateness                afterward       regarding        evaluation           of each review             item           and the        fact


  according       to    the announcement                 made by         the defendant             that    the    14th ranking                  university

  was   omitted         from the 15 universities selected                          with      the    l5 ranking               and    19th       ranking

  universities being selected                     would be         in   violation of the law in that                        it   lacks         reason


  even based on the selection method                             above        so the principle criteria                     are ignored


  according       to    the supplementary                and exceptional               criteria      of regional            balance




  Furthermore               if   the regional      balances        within       the regions          are taken         into       consideration

  the disposition            of the defendant            that     the criterion         of   no     selection          in    case    of lacking

  capabilities          was       ignored        and the              ranking     university         was        preferentially                 selected


  according       to    the criteria         of regional         balances        above would              clearly exceed                 its    discretion

  and so becomes                 illegal
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      Unjust nature           of evaluation        of each       evaluation            item   on the application            for installation


      approval




      Regarding the unjust nature                   of the evaluation              concerning          each evaluation          item


      educational goals admission screening                                curriculum            teachers        students     educational


      facilities     finances         related degree            programs         university        competitiveness            and   social


      obligations          on the application             for   approval         for   installation         of    law school      submitted


      by the    plaintiff          statements      will    be made        as soon        as field     survey      reports prepared           by

      the field     survey team on the              plaintiff     and      its   competitors          within      the same     region    of

      mba     TJniversity          and Kangwon            National        University the written                 opinion     prepared        by

      each member of the law education                          committee              rating tables        and any other

      documentary            evidence     prepared         during     the review           process       are secured




 Conclusion




 Therefore      this   case        disposition     is   thought      to    have not only violated                 the provisions        of the

 Act concerning            Installation     and Operation            of          Law    School        but    also exceeded       or abused

 the scope of discretionary               rights    so as to be illegal                so that    this   litigation    has    been

 instituted    to   seek     its   cancellation




                                                          Method of Proof



    Exhibit    Kap     No                          Certified copy           of corporate          registration ledger
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                      78600



   Exhibit     Kap   No                     Application      for    approval     for    installation      of      law school

   Exhibit     Kap   No                     List of    members of         the law education            committee        and    their


                                            affiliations


        to   of Exhibit   Kap    No         Each     newspaper       article


   Exhibit    Kap    No                     Study of     installation       approval     review        criteria   in   the field


                                            of curriculum       for law schools          Korea Research

                                            Foundation

   Exhibit    Kap    No                     Criteria    of review       of approval       for installation        of     law

                                            school     Ministry of Education               Science        and Technology

   Exhibit    Kap    No                     Notice     of request     for   approval      for   installation       of    law

                                            school




                                                       Appendix




   Complaint      duplicate                                        each

   Documentary        evidence     above                           each

   Service    payment     notice                                   each

  Litigation     power of     attorney                             each

  Responsible        attorney designation    form                  each




                                           Feb 2008

                                           Attorney of the above            Plaintiff



                                           Dongsuwon        Law     Corporation


                                           Responsible      Attorney           Sung Bae Namkung

                                                                               Chol     Hwan     Wee Yo Hum              Lee




Seoul    Administrative     Court                                                            Respectftilly        Submitted
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                                                      Litigation               Power of Attorney



            Case                  Preliminary         approval         rejection        disposition          cancellation




                                  Plaintiff       School      Corloratioti             Dongguk         University
            Party

                                  Defendant           Minister         of     Education Science                and Technology


            Regarding      the case   above     the appointee               indicated        below     is
                                                                                                             appointed          as       attorney    and    the following



authority   is   awarded


                                                                                     Dongsuwon          Law       Corporation


                                                Sungjun Bldg                  406      83-23      Wonchun-dong Yongtonggu                                  Suwon-si
      Appointee
                                                               TEL            031211-5723                         FAX       031211-5726




                                       Any     litigation     acts      and any         acts    related      to   the   above            case   and concerning           payment

                                  collection     from the defendant                            Institution        of counterclaims                  and appearance


                                 Reconciliation          on the        trial    and outside the              trial         Cancellation               of action


                                  Surrender      and acceptance                of     claim           Appointment                of sub-agent                   Receipt        of


                                 object           Payment          of deposit           and return request               for     and receipt of deposit               and


                                 interest             Security         interest       exercise       best application                    security     cancellation


      Details       of           application       and agreement                to    said application               receipt        of    the   original   of security


    Authorization                cancellation         decision         and surrender of the appeal                       right       regarding         said cancellation


                                 decision        10     Institution            or cancellation          of    appeal           11         Application       for   litigation



                                 cost settlement         and     its
                                                                        appearance              12     Opposition              to    ancillary attachments               and


                                 provisional       dispositions               and said cancellation               application              and appearance          regarding


                                 the   above      13        Exercise           of   rights     and best application                      14      Application       for   lawsuit


                                 institution     order       15         Property        list    application          and   its
                                                                                                                                    appearance             16     Dividend


        _____________            receipt       17      Any and          all    acts    concerning           complaint




        The above            litigation       shall    be delegated

                                                                                2008




                         Delegator      Plaintiff              Yonng Taik                      Tm    Representative                        Director


                                                               School Corporation                            Dongguk                 University

                                                               26 Pil-dong                     3-ga Jung-gu                    Seoul
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DONGGUKO3786O2




                                  Responsible Attorney Designation                   Form



        Case              Preliminary          approval      rejection   disposition       cancellation



                          Plaintiff      School Corporation              Dongguk      University
        Party

                          Defendant            Minister      of Education        Science     and Technology

  Concerning      the above
                                  case   its
                                               attorney      is   Dongsuwon       Law      Corporation     and designates

                                                            accordance    with    the Korea      Attorney Article 40
                       attorneys as follows
  its                                                  in
        responsible

  Clause


  Responsible
                                         Sung Bae Namkung                Chol    Hwan       Wee Yo Hum        Lee
    Attorney

                                                            Feb 2008



                                         Dongsuwon            Law    Corporation




                Sungjun Bldg       406         83-23    Wonchun-dong             Yongtonggu Suwon-si
                         TEL      031211-5723                         FAX        031211-5726




   Seoul     Central   District    Court                                                    Respectfully    Submitted




                                         Dongsuwon            Law    Corporation




                Sungjun Bldg       406         83-23 Wonchun-dong               Yongtonggu         Suwon-si

                         TEL      031211-5723                         FAX        031211-5726
  Case 3:08-cv-00441-TLM Document 257-6 Filed 08/04/11 Page 15 of 104



                                                     Certificate      of Filing




                                             Plaintiff    School Corporation               Dongguk         University

                                             Defendant       Minister          of Education           Science    and Technology




          Regarding the case of preliminary                 approval       rejection      disposition        cancellation     request

between    the above     parties   it   is   respectfully    requested          to   certify   that    the plaintiff   has   filed   the


above    case   as   number 2008GuHap731                 on 2/20/2008




                                             The above      is   certified


                                             2/20/2008

                                             Seoul    Administrative            Court

                                             Jong Yeon Lee            Court Clerk




                            2/20/2008

                            Attorney for the above                 plaintiff


                            Dongsuwon            Law     Corporation


                            Responsible Attorneys                   Sung Bae Namkung                  Chol      Hwan Wee




Filed

No
02/20/2008

Seoul Administrative       Court

Main    Filing Office




Seoul Administrative       Court                                                                      Respectfully      Submitted
           Case 3:08-cv-00441-TLM Document 257-6 Filed 08/04/11 Page 16 of 104




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               Case 3:08-cv-00441-TLM Document 257-6 Filed 08/04/11 Page 26 of 104




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CONFiDENTiAL
                                                                             DO           K0378603
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                                 CERTIFICATE OF TRANSLATION




              Kwang Park          hereby     certify     that     am       competent           in both       the       Korean        and

English      languages      and    that     translated     DONGGTJKO37859O-603                             from the Korean

 language      into   the English     language
              thrther    certify     that    translation        of     D0NG0UK0378590-603                                from        the

Korean       language     into    the English      language           is   accurate    and       correct         to    the    best    of

my    knowledge         and proficiency




Kwang Pa
Professional          Translator




Subscribed   and   sworn to before   me   on ___________        day   ofL f/                            year




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Signature    of Notary                                                        Notary Stamp
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           EXHIBIT                             97
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  McDermott
  Will                                     Emery
      Boston      Brussels            Chicago          Dsseldorf     Houston         London        Los    Angeles        Miami    Mtlan                                                 Audrey    Lu

      Munich      New        York                                  Home       San logo                                               u.C                                                Associate
                                           Orange    County                                  Siltoon     Volley     Wasningron

                                                                                                                                                                                        aulu@mwe.com
      Strategic   alliance          wIth    MWB      China    Law   Offices    Shanghail
                                                                                                                                                                                            212   547    6361




      January                         2010



      VIA E-MAIL                            AND REGULAR MAIL

      Howard                  Fetner Esq
      Day         Pitney                   LLP
         Audubon                           Street

      New Haven                              Connecticut                        06511



      Re                 Dongguk                        University                         Yale University                           No         303-CV-00441                     RNC
      Dear Howie


        write in response                                    to     your        December                    22       2009         letter        concerning            Dongguks Answers                       to     Yales
      Second Set of Interrogatories


  First            enclosed                       please find                   Dongguks                     Supplemental                       Answers        to     Yales        Second Set of

  Interrogatories


  Interrogatory



  As we              stated                  in     our December                           14 2009                letter          we      believe      we have             fully   responded            to   this


  Interrogatory                              by providing                       the        information                    which           it   requests



  Interrogatory



  The          Committee has not provided                                                       any         other reasons as to                      why Dongguk                   was not permitted open
  law school



  Additionally                               upon             ffirther          review                 we    believe              our     initial    Interrogatory               answer     was complete

  However                           because                  we     previously                  agreed              to    provide              you with      additional            information               that

  information                              is   below


  The          factors                 upon which                         the     Legal           Education                      Committee           relied      to    determine        the      quantitative            and

  qualitative                         scores are attached                                  hereto           as    Exhibit



  The          universities                          that          were       initially                grouped             in the         Seoul      Metropolitan                District   were             Seoul

  National                    University                           Yonsei          University                       Sungkyunkwan                     University              Korea University                     Ihwa
  Womens                        University                          Hanyang                 University                    Kyunghee               University                the   University       of Seoul

  Chung-Ang                                Unviersity                     Hankuk             University                    of Foreign               Studies         Sogang University                   Konkuk




US     preciice      conducted               through         McDermott        Will      Emery     LLP



340    Madison       Aveiiuc               New      York      NesYork           10173      1922         Telephone          212.547.5400         Facsimile   212.647.5444         www.mme.com
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January         2010

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University       Ajou University             Dongguk      University        Inha University            Kookmin       University          Hongik
University       Dankook         University       Kangwon         University        Sookmyung          Womens        University

Soongsil       University        Myungji       University      Sungshin       Womens            University     and   Kyonggi
University



The     quantitative      and    qualitative     scores and      rankings      Dongguk          previously provided          in    its


Interrogatory          answers    were based upon public information                      the   Ministry     of Education         released

early    in the selection        process and analysis          of those scores by various              third parties         The
information       below     is   based      upon information         made     directly     available    to   Dongguk     by       the

Ministry     of Education         after     the conclusion       of the selection        process       Thus    based    upon
information      provided        by   the   Ministry     of Education         the   quantitative       qualitative     and    total      scores
and rankings       of the universities          in the   Seoul      Metropolitan         District   prior to   the   sub-division were

as   follows



                        UNIVERSITY                  Ranking            Total         Quantitative            Qualitative

                                                    prior      to      Score               Score                Score

                                                    division


                        Seoul    National                              934.6               599.3                335.3

                          University


                       Yonsei    University                            904.3               588.4                315.9



                        Sungkyunkwan                                   896.5                595                 301.5

                          University



                       KoreaUniversity                                 892.5                581                 311.5



                        Ihwa     Womens                                888.7                586                 302.7

                          University



                  Hanyang         University                           879.7               589.3                290.4



                          Kyunghee                                     869.1               576.3                292.8

                          University



                  University        of Seoul                            864                588.5                275.5



                          Chung-Ang                                    863.1               578.9                284.2

                          University


                   Hankuk        University               10           861.4               568.1                293.3

                   of Foreign         Studies
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January   82010
Page




               Sogang University                     11             860.5           577.7              282.8



              Konkuk          University             12            857.8            582.2              275.6



                   Ajou University                   13            848.5            558.9              289.6



              Dongguk          University            14            834.9            553.2              281.7



                   Inha University                   15            834.2            578.7              255.5



                         Kookmin                     16            824.8            564.3              260.5

                         University



               Hongik         University             17            820.3            561.4              258.9



              Dankook         University             18            801.1            550.6              250.5



                         Kangwon                     19             800             544.1              255.9

                        University



                        Sookmyung                    20            793.8           543.8                250
             Womens           University



              Soongsil        University             21            773.3           539.9               233.4



              Myungji         University             22            730.4           521.8               208.6



              Sungshin         Womens                23            690.4           502.8               187.6

                        University



             Kyonggi University                      24            677.8           480.1               197.7




After the sub-division        the   universities    were grouped            according   to the   following     districts




                In      the Seoul    District      Seoul    National      University    Yonsei     University

       Sungkyunkwan            University       Korea University            Ihwa   Womens        University     Hanyang

       University        Kyunghee       University         the   University    of Seoul Chung-Ang            Unviersity

       Hankuk      University       of Foreign      Studies       Sogang University         Konkuk    University       Dongguk
       University        Kookmin      University          Hongik    University      Dankook      University      Sookmyung
       Womens           University     Soongsil     University         Myungji     University      Sungshin     Womens
       University



                   In   the   Kyonggi    District     Ajou University            Kyonggi University
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January            2010

Page




                           In   the Incheon       District    Inha University



                           In   the   Kangwon      District     Kangwon   University



The    following           fifteen     15   universities      were permitted    to   open   U.S         style   law schools    Seoul

National       University             Yonsei   University      Sungkyunkwan          University     Korea University          Ihwa
Womens           University            Hanyang     University     Kyunghee      University        the   University   of Seoul

Chung-Ang           Unviersity           Hankuk     University    of Foreign    Studies     Sogang University           Konkuk

University         Ajou University             Inha University      and   Kangwon        University




Sincerely yours




Audrey Lu



Enclosures


cc         Felix           Springer      Esq
           Robert          Weiner       Esq
           Ira   Grudberg Esq

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                                                                       Evaluation         Evaluation Sub-                                                                                                                                                        Allocated   Quantitative/Qualitat
                                                                                                                                                                              Evaluation Item
                                                                        Cateeorv                    Cateeorv                                                                                                                                                      Scores                  we
                                                                                                                           L1.l     Are         the      legal         education          purpose             university          objectives             and                        Qualitative
                                                                                                                           educational           purpose          systematic/concrete                                                                                               Evaluation
                                                                                                                           1.1.2   Is    the    law     schools          educational          purpose           sufficiently              concrete       and                        Qualitative
                                                                                        1.1
                                                                                                Propriety      of    the
                                                                                                                           practical      to    produce           desirable       legal     professionals                                                                           Evaluation
                                                                                        Educational          Purpose       1.1.3    Does        the     educational                           reflect         the     educational                and    legal                       Qualitative
                                                                                                                                                                               purpose
                                                                                                      20                   demand of           the     university         body      as well    as       the    local society                                                        Evaluation
                                                                                                                           1.1.4   Does         the    university         pay     attention        to the       educational               resources         as
                                                                                                                                                                                                                                                                                    Qualitative
                                                                                                                           well    as    environments                  in order      to    accomplish               its    educational            purpose
                                                                                                                                                                                                                                                                                    Evaluation
                                                                                                                           and obiectives
                                                                        Purpose    of         1.2   txistence        Ot            Do
                                                                                                                           1.2.1                concrete          strategy     and        implementation system                        exist      in   order                        Qualitative
                                                                      Education           Infrastructure
                                                                                   40                                to    to   accomplish            the     educational           purpose        of   the    law school                                                           Evaluation
                                                                                                Realize      the           1.2.2   Does         the                       have         self-evaluation                             for           law
                                                                         points                                                                        university                                                    system                its                                      Qualitative
                                                                                        Educational          Purpose
                                                                                                                           1.2.3    How         do     the     law      schools        implementation                     system          development                               Qualitative
                                                                                                        fl                 plan    and    evaluation              system      relate      to the    university             body      and     locaFl                                 Evaluation
                                                                                                                           1.3.1    Is    the                                                                       and     can            be
                                                                                                                                                  specialization              strategy        concrete                               it          properly                           Qualitative
                                                                                                                           established          and     implemented                                                                                                                 Evaluation
                                                                                              13 Purpose and               1.3.2    Are    the                                            and purpose                             reflected            in the
                                                                                                                                                      specialization          plan                              properly                                                            Qualitative
                                                                                                Strategy       for         research                         and    re-education
                                                                                                                                          process                                         process                                                                                   Evaluation
                                                                                                                                    Does
                                                                                         Specialization            10      1.3.3                the     university           have         proper        way      to       evaluate         whether        the
                                                                                                                                                                                                                                                                                    ualitative
                                                                                                                           specialization              plan       is   actually      being         carried       out        and      to    correct       any
                                                                                                                                                                                                                                                                                    Evaluation
                                                                                                                           nrohems         that       are     later    discovered
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                                                                                                 2.1 student
                                                                                          Admission           Plan        to
                                                                                                                                 2.1.1         Does        the    admission            plan     satisfy     all    the     requirements of            the     la           Quantitative
                                                                                          determine           whether                                                                                                                                                P/F
                                                                                                                                                           law        school                                                                                                Evaluation
                                                                                                                                 concerning
                                                                                            someone           will     be
                                                                                                              iw nnt\
                                                                                                                                 2.2.1         Does             the    university           categorize            social         minorities          for       the         Qualitative
                                                                                                                                                                                                                                                                     10
                                                                                         2.2 Consideration of -urpose of                                   special      admission            in     fair    and     reasonable           manner                             Evaluation
                                                                                                                                               What                              of                 admission
                                                                                         social     minorities            20     2.2.2                     is    the    ratio         special                            program         offered     to    social
                                                                                                                                                                                                                                                                     10
                                                                                                                                                                                                                                                                           Quantitative
                                                                                                                                 minorities                                                                                                                                 Evaluation
                                                                                         2.3                allocation
                                                                                                 Quota                                                                                                                                             above       1/3
                                                                                                                                 2.3.1       Does          the    university          maintain         quota       that     is   equal    to or
                                                                                          for    people       who         did                                                                                                                                              Quantitative
                                                                                                                                 of    its     total        number of admission                      for    people         who     did     not     previously        P/F
                                                                                                                                                                                                                                                                            Evaluation
                                                                          Student               not   previously
                                                                                                                                 receive            legal       education
                                                                                                 receive      lecial
                                                                      Admission     60                      allocation                         Does        the                        maintain                      that    is            to or     above      1/3
                                                                                         2.4     Quota                                                            university                           quota                     equal
                                                                                                                                                                                                                                                                           Quantitative
                                                                         Points                                                                                                                                                  who
                                                                                         for    people      from       other     of      its    total        number of admission                       for        people                 graduated           other
                                                                                                                                                                                                                                                                            Evaluation
                                                                                                  universities                   universities
                                                                                           2.5    Fairness       of       the    2.5.1         Is    the        universitys           law    school        student        admission          plan     fair    and           Qualitative
                                                                                                                                                                                                                                                                     20
                                                                                                                                                                                                                                                                            Evaluation
                                                                                          admission           plan     20        proper
                                                                                         Lb      Ketlection          ot    the
                                                                                          educational          purpose
                                                                                           and                                   2.6.1         Does        the    admission                                   reflect      the    educational                               Qualitative
                                                                                                   specialization                                                                     plan    properly                                                purpose
                                                                                                                                                                                                                                                                      10
                                                                                               objectives       in the           and      the       specialization              objectives                                                                                  Evaluation
                                                                                           student         admission
                                                                                                   nIn_1O\
                                                                                           2.7     Variety       of    the       2.7.1          Does            the     admission            plan     offer        diverse/various               options        fo          Qualitative
                                                                                                                                                                                                                                                                      10
                                                                                          admission           nlan        10     applicants                                                                                                                                 P.valiintinn
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                                                                      3.1    Systemization of
                                                                                                       3.1.1      Does         the       education             process          properly           reflect       the     law     schools              Qualitative
                                                                             the   Education                                                                                                                                                   15
                                                                                                       educational             purpose           and     objectives                                                                                   Evaluation
                                                                               Process    151
                                                                      3.2    Systemization of                                                                                                                                                        Qualitative
                                                                                                       3.2.1      Are    the     core        courses       systematically                  planned         out                                 15
                                                                         the      Core Courses                                                                                                                                                        Evaluation
                                                                      3.3                   Credits                                                                                                                                                  Quantitative
                                                                             Required
                                                                                                       3.3.1      Does        the    law school            require          more      than     90    credits      for        graduation        P/F
                                                                            for    Graduation                                                                                                                                                         Evaluation
                                                                                                       3.4.1      Are    there        five     clinical         courses        assigned        to    students            Are     there               Quantitative
                                                                      3.4      Clinical     Courses                                                                                                                                            P/F
                                                                                                       actual      clinical          courses        offered        in the       curriculum            for the      students                           Evaluation
                                                                      3.5    Propriety      of Core    3.5.1      Are    the     core        classes       appropriately              assigned         within          the    35-credit        10    Quantitative
                                                                             Courses        20         3.5.2      Propriety           of   the    law      schools          selection         of    core     courses                           10     Qualitative
                                                                                                       3.6.1      Number            of   elective         courses         for the         particular       malor                               20    Quantitative
                                                                                                       3.6.2      Do    elective           courses        offer       comprehensive                 education           that                         Quantitative
                                                                                                                                                                                                                                               10
                                                                                                       combines          theoretical             education            and      practical       education                                              Evaluation
                                                                            3.6    Propriety     of
                                                                                                       3.6.3      Are    the     courses          pertaining           to   each          major up      to   date        reflecting
                                                                      Elective       Courses      50   the     latest                                in the                 field
                                                                                                                                                                                                                                                     Quantitative
                                                                                                                         development                              legal               with     regard        to factors         such      as   10
                                                                                                                                                                                                                                                      Evaluation
                                                                                                       domestic          and        forelon       demand
                                                                                                       36.4 Establishment and                             operation          of     the    foreign      language             courses           10    Quantitative
                                                                                                       3.7.1      Independence                 of   the    educational               process                                                          Qualitative
                                                                                                       3.7.2      Did    the        university           establish        an    internal       organization              in order      to            Quantitative
                                                                                                       evaluate         the    law school                education          process                                                                   Evaluation
                                                                             3.7    Education          3.7.3      Contents           and                         of   the      education           method
                                                                                                                                              operation                                                          improvement                         Qualitative
                                                                                                                                                                                                                                               10
                                                                        Process Operation              program                                                                                                                                        Evaluation
                                                                                 System     35         3.7.4      Reasonableness                    of   the    course         evaluation           plan                                       10     Qualitative
                                                                                                       3.7.5      Does        the    school         policy       allow      students         who       received          an
                                                                                                                                                                                                                                                      Qualitative
                                                                                                       undergraduate                 law degree            to    carry      over      their credits          equal       to or    below
                                                                                                                                                                                                                                                      Evaluation
                                                                                                       15    in   law    school
                                                                            3.8    Propriety     of    3.8.1      Are                      members teaching
                                                                                                                         faculty                                               courses        that     suit their capabilities                 50    Quantitative
                                                                       Faculty       Assignment        3.8.2      Do     faculty           members             assigned         to teach       their courses             in      foreign              Qualitative
                                                                                                                                                                                                                                               10
                                                                            to    Courses      60      language          have        the     capacity          to teach        in   that     language                                                 Evaluation
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                                                                                                                           3.9.1       Contents           and                              of   the    course                                                                 10   Qualitative
                                                                                                                                                                     application                                         syllabuses
                                                                                                 Propriety      of         3.9.2       Fairness           of    the    student          grading system                                                                             Qualitative
                                                                        Education
                                                                                      Course      Syllabus        30       3.9.3       Substantiality                 of course          management                                                                                Qualitative
                                                                                                                           3.9.4                           and                           of teaching           method                                                         10    Qualitative
                                                                                                                                       Diversity                      creativity
                                                                      Process   345           3.10     Strict
                                                                                                                           3.10.1                                                                                                                     affairs
                                                                        Points
                                                                                                                                          Is    there                system          in place         to     manage             university                         in               Qualitative
                                                                                                                of                                                                                                                                                            20
                                                                                         Management
                                                                                                                           strict      and proper              manner                                                                                                               Evaluation
                                                                                        University         Affairs
                                                                                                                           3.11.1       The number of                       organizations             that    participate              in the     clinical                         Quantitative
                                                                                                                           3.11.2       The     propriety               of   clinical        course curriculum                                                                      Qualitative
                                                                                        3.11     Propriety         of
                                                                                                                           3.11.3        Does        cooperating               organizations                sufficiently           encompass               the                     Quantitative
                                                                                      Clinical     Courses         30                                                                                                                                                         10
                                                                                                                           clinical       students             for their          work                                                                                              Evaluation
                                                                                                                           3.11.4        Is   the    clinical           course        well-structured                 and planned                out                          10    Qualitative
                                                                                      3.12     Joint   Education           3.12.1        Past       experience               in operating          ajoint           education           program           with                     Quantitative
                                                                                                           with                                                                                                                                                                     Evaluation
                                                                                             Program                       foreign        educational                 institutions
                                                                                                                           3.12.2                              of     the               education           and     clinical                            offered         by          Qualitative
                                                                                      Foreign Educational                                Propriety                           legal                                                 program
                                                                                         Institutions         101          foreign        educational                 institutions                                                                                                  Evaluation
                                                                                                                           3.13.1        Does        the       university           assign      more         than        30    credits      of    its   elective                   Quantitative
                                                                                                                           courses        to    the       specialization                area                                                                                        Evaluation
                                                                                                                           3.13.2        Whether               the    courses         offered      in the         specialization               area                                 Qualitative
                                                                                      3.13     Propriety      of     the
                                                                                                                           correspond               to the       specialization                education            it   is   supposed           to     provide                     Evaluation
                                                                                             Specialization
                                                                                                                           3.13.3        Does        the       university           have       capacity        to     implement             the                                     Qualitative
                                                                                                 Program
                                                                                                                           specialization                 program                                                                                                                   Evaluation
                                                                                                                           3.13.4        Whether               the    specialization             program            properly           relates        to/support                    Qualitative
                                                                                                                           the      students          career          after    graduation                                                                                           Evaluation
                                                                                                                           3.14.1        Organization of                     the     research         institute          and     effectiveness             of    its                Qualitative
                                                                                                                           management                                                                                                                                               Evaluation
                                                                                       3.14      Resources         and
                                                                                                                           3.14.2Number                    of        paid    researchers                                                                                           Quantitative
                                                                                      Finance       for    Research
                                                                                                                           3.14.3        Number            of        staff   members            and    RAs          dedicated          to   the       research                     Quantitative
                                                                                             Institutes     15             institute                                                                                                                                                Evaluation
                                                                                                                           314.4         Amount            of annual               operation          budget                                                                       Quantitative
                                                                                                                           3.15.1        The frequency                      and    size    of    the       academic            conference             events       over            Quantitative
                                                                                                    3.15
                                                                                                                           the      last three        years                                                                                                                         Evaluation
                                                                                       Accomplishment                 of   3.15.2        The number of academic                                journals        issued           over     the     last    three                     Quantitative
                                                                                        Research       Institutes          3.15.3        The number of                      research       projects          over        the    last    three      years                           Quantitative
                                                                                                                                         The                     amount            of                                              funds
                                                                                                     20                    3.15.4                   total                                the     research           project                       over      the        last        Quantitative
                                                                                                                           three       years                                                                                                                                        Evaluation
                                                                                       3.16      Specialization            3.16.1        Plan        to    issue        academic           journals           concerning               specialization              area             Qualitative
                                                                                      of Research          Institutes      of    the    research           institute
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                                                                                              4.1    Number           ot         4.1.1     Does      the      law      school       have        at    minimum           twenty       tenured             faculty          Quantitative
                                                                                                                                                                                                                                                                    P/F
                                                                                         Faculty          Members                members                                                                                                                                   Evaluation
                                                                                                                                                                                                                                   _______
                                                                                             Dedicated                           4.1.2     Plan      to      add      more        tenured                       members             by   the       time       the         Quantitative
                                                                                                                 to the                                                                           faculty
                                                                                                                                                                                                                                                                    P/F
                                                                                                    nr Crknnl                            -t
                                                                                                                                 ALI1V.1LL        receives           nerr LI.OflJl_ not          onen       law    pnini9
                                                                                                                                                                                                                   ....j.j
                                                                                                                                                                                                                                                                           Pnhntinn
                                                                                                                                                                                                                                                                           -.........
                                                                                               4.2       Ratio of                4.2.1     The     ratio      of     the   number of             students        per        each    professor            by   the         Quantitative
                                                                                                                                                                                                                                                                    30
                                                                                       Professor          to    Studentr         year    law    school        is   completed                                                                                               Evaluation
                                                                                              4.3   Number            of
                                                                                                                                 4.3.1    Did     the     law      school      secure     the        required    number of             faculty                            Quantitative
                                                                                                          Members                                                                                                                                                   P/F
                                                                                         Faculty
                                                                                                                                 members with                legal     practice      experience                                                                            Evaluation
                                                                                        with Lemil Practice
                                                                                        4.4 Ratio of             faculty
                                                                                                                                 4.4.1    The     ratio      of    faculty     members            with     practical         experience                                   Quantitative
                                                                                              members            with                                                                                                                                               20
                                                                                                                                 including         both       legal     and    non-legal             experience                                                            Evaluation
                                                                                       practical          experience
                                                                                                                                 4.5.1    The     ratio      of    faculty     members from                other       universities           to   all    newly           Quantitative
                                                                                                                                                                                                                                                                    10
                                                                                                                     of    the                                                                                                                                             Evaluation
                                                                                        4.5    Diversity                         hired     faculty      members            based on            the    3-year    ftture        hiring     plani
                                                                      Faculty    195     Faculty          Body        20         4.5.2     The       ratio      of    women         faculty           members          to    all    faculty        members
                                                                                                                                                                                                                                                                    10
                                                                                                                                                                                                                                                                          Quantitative
                                                                        Points                                                   based on         the     past       records      and    the     3-year     hiring      plan       in the     fbturel                      Evaluation
                                                                                             4.6    The Ratio of
                                                                                                                                 4.6.1     The    ratio       of     faculty      members             who obtained             Ph.D      to    all       tenured          Quantitative
                                                                                         Faculty           Members                                                                                                                                                  10
                                                                                                                                 faculty       members                                                                                                                     Evaluation
                                                                                        with        h.D   Degrees
                                                                                                     Academic
                                                                                        accomplishment                      of                                                                                                                                            Quantitative
                                                                                                                                 4.7.1     Academic             accomplishment                 of tenured        faculty           members                          50
                                                                                              tenured          faculty                                                                                                                                                     Evaluation
                                                                                              members_501
                                                                                              4.8    Education
                                                                                                                                                                                                                                                                          Quantitative
                                                                                       experience              of tenured        4.8.1     Education            experience          of   tenured         faculty     members                                        20
                                                                                                                                                                                                                                                                           Evaluation
                                                                                       facul members                       20
                                                                                       4.9    Lecture           workload                                                                                                                                                  Quantitative
                                                                                                                                 4.9.1     Hours        of   lectures       assigned        to    each     faculty          member                                  25
                                                                                                    of   faculty                                                                                                                                                           Evaluation
                                                                                         4.10 Ratio of                paid                                                                                                                                                Quantitative
                                                                                                                                 4.10.1      Ratio      of    paid     Taps       per each        faculty       member                                              20
                                                                                                    TAs        201
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                                                                                                                       5.1.1     Plan        to       require     advising          professor           to     spend          certain     number                        Qualitative
                                                                                                                       hniirs in advice                                r-i             in    him/her
                                                                                                 5.1    Student        5.1.2          Propriety            of    the       advising          professors               plan       to     support            and          Qualitative
                                                                                            Advisement         10      counsel        his/her          advisees                                                                                                         Evaluation
                                                                                                                       5.1.3         Variety          of choices        for students            in   choosing            their advisors               based            Qualitative
                                                                                                                                                                                                                                                                        PV2iIQttnfl
                                                                                                                       nfl    their   pninnn               and   fixture    career          olans
                                                                                                                       5.2.1     Plan       to    establish             student        support         center         specializing             in    career             Qualitative
                                                                                                                       and     employment               counseling                                                                                                      Evaluation
                                                                                          5.2    Student    Support
                                                                                                                       5.2.2         Plan        to    secure          sufficient           human          resources             for     the        student            Qualitative
                                                                                                 Center     10
                                                                                                                       support        center                                                                                                                            Evaluation
                                                                                                                       52.3     Variety           and      propriety       of   the    support programs                       offered     to the                        Qualitative
                                                                                                                       5.3.1    Plan     to      provide spaces and                   financial        support           for students                                   Qualitative
                                                                                                                       academic         and       political        activities                                                                                           Evaluation
                                                                                          5.3    Student    Benefits
                                                                                                                       5.3.2    Educational                support programs                  and     facilities        for students             with                   Qualitative
                                                                                                       13
                                                                                                                       disabilities                                                                                                                                     Evaluation
                                                                      5.Students    125
                                                                                                                       5.3.3    Plan     to      provide         rest   areas     and        daycare         center      for    women           students                Qualitative
                                                                           Points
                                                                                                                       5.4.1    Plan     to establish             an academic                                center      dedicated         to       the    law          Qualitative
                                                                                                                                                                                             support
                                                                                                                       school                                                                                                                                           Evaluation
                                                                                                5.4    Academic        5.4.2    Did     the       university          establish                              to                 students needs                          Qualitative
                                                                                                                                                                                            program                survey
                                                                                                 Support    12         and wants         and          reflect    their     opinions          in the     academic              affairs                                   Evaluation
                                                                                                                       5.4.3    Did     the       university          establish             program          to    survey       students                                Qualitative
                                                                                                                       iatisfaction          level         and   reflect      their    opinions            in the      academic           affairs                       Evaluation
                                                                                                                       5.5.1    The      ratio        of   students        who    will receive               scholarship              or grants       to               Quantitative
                                                                                                                                                                                                                                                                  30
                                                                                                                       the     law    school          student      body                                                                                                 Evaluation
                                                                                          5.5    Scholarship      55   5.5.2    The      consideration                given      to social          minorities           in    choosing
                                                                                                                                                                                                                                                                       Quantitative
                                                                                                                       scholarship/grant                   recipients       and       the    ratip    of     social      minorities         to      the           25
                                                                                                                                                                                                                                                                        Evaluation
                                                                                                                       nudents who receive                       scholarship           or nrants
                                                                                                                       5.6.1 The number of                       students         who        passed          the   bar    exam over                 the    last
                                                                                                                                                                                                                                                                       Quantitative
                                                                                                                                                                                                                                                                  15
                                                                                           5.6    Ratio of Legal       five    years                                                                                                                                    Evaluation
                                                                                            Practitioners      25      5.6.2     The number of                   students         who        passed        the     bar    exam among                  those            Quantitative
                                                                                                                                                                                                                                                                  10
                                                                                                                       with undergraduate                    law      deees           over     the    last    five     years
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                                                                                                                              6.1.1     Did      the      law       school           secure        independent                    space     that       is    dedicated           as         Qualitative
                                                                                           6.1        Independent
                                                                                                                              its   own                                                                                                                                                      Evaluation
                                                                                          Space         Provided        to
                                                                                                                              6.1.2     Is    the                     of       the     law     school          building                properly             laid    out with                Qualitative
                                                                                                                                                       space
                                                                                         the     Law School                                                                                                an.nraA                                                                           Pvlirntnn
                                                                                                                              nrnner                           .-    LILL      f....rr..e                                          tr    cc.na
                                                                                                                                                               LU              jJ1jLLflJSL.LLLO            OLMJ
                                                                                                6.2     Essential             6.2.1      Did         the       law            school       properly             secure              essential           facilities              and         Quantitative
                                                                                                Facilities 31                 common           space                                                                                                                                         Evaluation
                                                                                               6.3Law School                                                                                                                                                                                Quantitative
                                                                                                                              6.3.1     Does        the    law        school           have         library            specialized            in legal            texts               P/F
                                                                                                       Library                                                                                                                                                                               Evaluation
                                                                                         6.4    Number           of   Seats   6.4.1     Did      the      law school                 secure       seats        for     at    minimum 70% of                        the                      Qualitative
                                                                                         for     Students        in    Law    entire     student           body          in    its   library                                                                                                Quantitative
                                                                                                                              6.5.1     Does        the     law school                 library      have               proper          number of books                     on               Quantitative
                                                                                                                                                                                                                                                                                      15
                                                                                                                              legal    topics                                                                                                                                                Evaluation
                                                                                                                              6.5.2     Does        the     law school                 library          have           plan       to   secure         more books                on          Quantitative
                                                                                                                                                                                                                                                                                      10
                                                                                                                              legal     topics       in the          future                                                                                                                  Evaluation
                                                                                                     6.5    Books
                                                                                                                                                                                                                                                                                             Qualitative
                                                                                         Concerning            Law      45    6.5.3     The      content            and        quality       of    the     books            available          in     the        library              10
                                                                                                                                                                                                                                                                                            Evaluation
                                                                         Education                                            6.5.4     How many                    legal journals                are    available            in the        library includes                                Quantitative
                                                                      Facilities   102                                        electronic            iournalsl                                                                                                                                Evaluation
                                                                                                                              6.5.5     Substance              of     the       books        available            in    the       library                                                    Qualitative
                                                                          Points
                                                                                                                              6.6.1     Did      the      law       library          secure             librarian           with         first      grade         librarian                 Quantitative
                                                                                                 6.6       Librarian
                                                                                                                              license                                                                                                                                                        Evaluation
                                                                                         Specialized             in   Legal
                                                                                                                              6.6.2     Did      the       law      library          secure        sufficient               number of employees                          to                 Quantitative
                                                                                                       Text
                                                                                                                              support         its   function                                                                                                                                 Evaluation
                                                                                                                              6.7.1     Is    the    space          of    the     mock        courtroom                 properly           allocated              for legal                  Qualitative
                                                                                         6.7    Mock         Courtroom        ractice         training                                                                                                                                       Evaluation
                                                                                                                              6.7.2     Is    the    size      of     the       mock       courtroom               sufficiently               large         to    support                   Quantitative
                                                                                                                              participation               of   its    students                                                                                                               Evaluation
                                                                                                                              6.8.1     Does         the     law school                have        proper computer                       facilities          and     space       to         Quantitative
                                                                                         6.8    Computer              Labs
                                                                                                                              support students research                                                                                                                                      Evaluation
                                                                                          6.9        Legal    Database        6.9.1     The number of Web-DB                                   available               in   the     law     library                                         Quantitative
                                                                                                           10                 6.9.2     The      variety            of    Web-DB              available            in       the    law    library                                           Quantitative
                                                                                           6.10         Large-scale                                                                                                                                                                         Quantitative
                                                                                                                              6.10.1         Does      the      law       school         have       at    least        one        large-scale           lecture          room
                                                                                           Lecture           Room       51                                                                                                                                                                   Evaluation
                                                                                                                              6.11.1         Does      the      law school               have       its    own          dormitories              for the          students                  Quantitative
                                                                                         6.11        Dormitory          10    at                                                       studentsl
                                                                                                                                                                                                                                                                                       10
                                                                                                                                      least   one      room           oer       two
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                                                                                            7.1                        ot
                                                                                                    Propriety
                                                                                        financial           support            7.1.1     Propriety            of     financial          supports         provided            to     its   students            over      the         Quantitative
                                                                                                                                                                                                                                                                              12
                                                                                      provided            to students          last    three    years                                                                                                                               Evaluation
                                                                                                           TI
                                                                                              7.2       Akirking
                                                                                            environment                for     7.2.1     Propriety             of    the        working          environment                for    the     entire        university                 Quantitative
                                                                                                                                                                                                                                                                              15
                                                                                       faculty          members of             faculty         members                                                                                                                               Evaluation
                                                                       Finance   55    RtyOILiui                               7.3.1    Ratio      of      tuition        to    the    operation         revenue                                                                    Quantitative
                                                                        Points                    universitys
                                                                                                                                                                                                                                                                                    Quantitative
                                                                                       accounting               practice       7.3.2     Ratio        of   the      external          finds      to   the     operation            revenue
                                                                                                                                                                                                                                                                                     Evaluation
                                                                                                  7.4    Plan    to                                                                                                                                                                 Qualitative
                                                                                                                               7.4.1    Does      the       university            have      an    appropriate               and    stable     plan        to        secure
                                                                                       financially                                                                                                                                                                            10    Evaluation
                                                                                                                support
                                                                                                                               financial       resources             necessary            for    law school
                                                                                      the     resources           for    law                                                                                                                                                        Ouantitative
                                                                                              7.5       Resource
                                                                                                                               7.5.1     Does     the       university            have           proper        plan     to allocate          its   financial                        Quantitative
                                                                                       Allocation               Plan     for                                                                                                                                                  10
                                                                                                                               resources         for       law     school                                                                                                            Evaluation
                                                                                        Law          School        10l
                                                                                       8.1        Elimination            of
                                                                                                                               8.1.1     Does     the       university            plan      to   eliminate            its   undergraduate                 law                       Quantitative
                                                                                      Undergraduate                    Law                                                                                                                                                    PiT
                                                                                                                               degree                                                                                                                                                Evaluation
                                                                                                     Degree
                                                                                                                               8.2.1     Propriety            of    the    universitys            plan      to    establish         and     implement                 the
                                                                                                                                                                                                                                                                                    Qualitative
                                                                                                                               doctorate         degree program                    or research              scholarship            program          in        its   law
                                                                                                                                                                                                                                                                                     Evaluation
                                                                                                                               school
                                                                                                                               8.2.2     Propriety            of    the    universitys            plan       to secure        faculty        and     staff                          Qualitative
                                                                                              8.2       Affiliated
                                                                                                                               dedicated         to     the      doctorate            degree program               or research              scholarship                              Evaluation
                                                                                                  Degrees        10            8.2.3     Did     the       university            secure                               facilities          and space            for
                                                                                                                                                                                            appropriate                                                                             Qualitative
                                                                                                                               students        who         attend         its   doctorate         degree program                   or research                                       Evaluation
                                                                        Affiliated
                                                                                                                               8.2.4     Do    the      degree        or research            programs             appropriately              reflect           the    law           Qualitative
                                                                      Degrees    30
                                                                                                                               schools         educational                purpose and             specialization              phn                                                    Evaluation
                                                                        Points                                                 a.i       110     tne       law scnool             or the     university           that      will                   law school
                                                                                                                                                                                                                                    open
                                                                                                                               secure      human and                material           resources         to      manage       the        education             of                   Qualitative
                                                                                                                               students        in the                                                        law department                 that    will         be
                                                                                                                                                              existing          undergraduate                                                                                        Evaluation
                                                                                                  8.3    Plan     to                               in      the     fitre        hereinnfter              .rflprd              itt 4ar.rtnant9
                                                                                                                                                                                                                                                         ..
                                                                                                                               8.3.2     Propriety            of    university           administration               and     educational
                                                                                                                   the                                                                                                                               process                        Qualitative
                                                                                             implement
                                                                                                                               management               for existing              law     students                                                                                   Evaluation
                                                                                            temporary              law
                                                                                                                               8.3.3     Propriety            of    the    universitys            plan       to   manage           the    demand of law
                                                                                        department                 20          education         for       undergraduate                 students        after the                           law department
                                                                                                                                                                                                                                                                                    Qualitative
                                                                                                                                                                                                                            existing
                                                                                                                                                                                                                                                                                     Evaluation
                                                                                                                               is   eliminated
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                                                                      8.3.4   Ratio   of   scholarship   provided   to   students   of temporaty   law        Quantitative
                                                                      Anrn4nent                                                                               Evaluation
                                                                                                                                                         --
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                                                                                                                                  9.1   .1   The     extent        of accomplishment                     in   the    university      restructuring         and          Quantitative
                                                                                                9.1 Accomplishment
                                                                                                                                  improvement                                                                                                                            Evaluation
                                                                                                in Restructuring           and
                                                                                                                                  9.1.2      Did     the                           succeed                                  or eliminating           similar            Qualitative
                                                                                                                                                                university                          in   combining
                                                                                                  Improvement            10                                                                                                                                              Puin4tnn
                                                                                                9.2 Accomplishment                                                                                                                                                      Qualitative
                                                                                                                                  9.2.1      Selection           of   areas      of                                                                                10
                                                                                                                                                                                      specialization
                                                                                                in Specialization          101                                                                                                                                           Evaluation
                                                                                                                                  9.3.1      Does         the    universitys            mid-term and                long-term       development            plan         Qualitative
                                                                                                                                  sufficiently            reflect       its    globalization             goal                                                            Evaluation
                                                                                                                                  9.3.2      Does     the        university           have    the    appropriate          structure      for   its   internal
                                                                                                9.3     Globalization        of                                                                                                                                         Qualitative
                                                                      Competitiveness                                                                          that                           in                                Does     the
                                                                                                                                  organization                          specializes                 globalization                                 universit
                                                                            and   Social
                                                                                                 the    Education        10                                                                                                                                              Evaluation
                                                                                                                                  1iave      the   anorooriate             number of emolovees                       dedicated       to the
                                                                      Responsibility       of                                     9.3.3      The     extent        of    globalization             in the     universitys         research                              Qualitative
                                                                      the   University     48                                     9.3.4      The     extent        of    globalization             in the     universitys         education                             Qualitative
                                                                                                                                  9.4.1      The     universitis               policy    concerning             research        ethics                                   Qualitative
                                                                             Points              9.4 Research           Ethics
                                                                                                                                  9.4.2       The     efforts          made        by    university           to    apply   its    policy      concerning               Qualitative
                                                                                                             10                                                                                                                                                          Evaluation
                                                                                                                                  -esearch         ethics
                                                                                                         9.5   Social             9.5.1        Any          sanction             against        the       university            with     regard       to     its
                                                                                                                                                                                                                                                                        Quantitative
                                                                                                                                  administrative                 and     financial           operation         concerning          student      admission
                                                                                                       responsibility                                                                                                                                                    Evaluation
                                                                                                                                  overthe          last    three       years
                                                                                                        concerning
                                                                                                improvement             of high                                                                                                                                         Quantitative
                                                                                                                                  9.5.2      Ratio        of    social        minorities       in the     student       body
                                                                                                 school     education                                                                                                                                                    Evaluation
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                              UNITED       STATES       DISTRICT      COURT


                             FOR    THE   DISTRICT       OF CONNECTICUT



        DONGGUK     UNIVERSITY                                   No      308CV441RNC

                                    Plaintiff

                       vs


       YALE   UNIVERSITY
                                                                 HARTFORD       CONNECTICUT
                                    Defendant                    March    30    2009




                                      TELEPHONE         CONFERENCE


              BEFORE

                     HON     ROBERT             CHATIGNY        CHIEF    U.S.D.J

       APPEARANCES

              FOR    THE    PLAINTIFF

                       MCDERMOTT    WILL    EMERY
                               50 Rockefeller   Plaza
                               340 Madison  Avenue
                               New  York          New    York    101734613
                       BY      ROBERT             WEINER        ESQ
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              FOR   THE     DEFENDANT

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                       BY      FELIX          SPRINGER           ESQ
                               HOWARD       FETNER  ESQ

                                                           Darlene            Warner   RDRCRR
                                                           Official       Court    Reporter
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                                                230 P.M

                       THE     COURT        Hello

                       MR      SPRINGER          Hello        Your       Honor

                       MR      GRUDBERG          Hi Judge                Ira

                       MR      WEINER        Good      afternoon              Your    Honor        Robert


       Weiner

                       THE     COURT        Good      afternoon               Did    everybody          get

       chance    to    identify        themselves           for    the    record

                       MR      SPRINGER               dont        think            did     Your    Honor

10     Felix    Springer         and    with     me    is    Howard       Fetner          for Yale


11     University

12                     MR      WEINER        Robert         Weiner        McDermott              Will


13     Emery         Im   here       with   Audrey            excuse          me          Jane    Bae    for


14     Dongguk

15                     MR      GRUDBERG          Ira Grudberg             also       for    Dongguk


16     University

17                     THE     COURT        Thank      you    very       much         We    set    up    this


18     telephone       call     to    discuss       the     dispute       youre           having    with


19     regard    to    the    plaintiffs            disclosure           of    its    computations


20     of    claim    damages          Ive      read      your     correspondence

21     including       its     attachments             Where       does       the    matter       stand       at


22     the   moment

23                     Mr      Springer

24                     MR     SPRINGER                think       you    have       our    last    letter


25     which         believe     was    sent     to    you    Thursday               We    have    had    no
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        further       correspondence                             And    all we       have       at    this       point

        Your    Honor           is        the    initial              disclosures          or    are       the    initial


        disclosures                       suppose

                           THE       COURT             Okay            all     right

                           Mr Weiner                   do        you    have    any       suggestions             as       to


        how    we    might       be        able       to        resolve       this    problem

                           MR        WEINER                First        of    all     Your       Honor                think


        that    the    disclosures                    are        detailed           and    Id        like    to       go


        through       them       for        the       record

10                         Mr        Springer              complained           in his          last       letter          to


11      you     he    has       no    idea        from           reading       his    disclosures                as    to       how


12     we     came    up    with           $50    million              worth    of    damages               And       if    you

13      look    at    the       disclosures                      at    pages    11    and       12     we    explain

14     the     losses       in detail                      $16        million for the                first       year            At


15     page     10     we       explain           that          we     lost    $8    million          of    grants          in


16     the     first       year             At    page           14     we    explain       that       we    incurred


17     $18     million          in    expenses              in constructing                      new       law    school


18     and     everything             that        goes           along       with    that            And    that       law


19     school        did    not       come        into           fruition       because          of    the


20     situation                And       then        we    explained that                 there       was       probably

21     $5     million per             year        of       lost        revenues       that       would       have          been


22     received        from          the        law    school

23                         So    just           taking          those        hard    damages           which          are


24     expenses        and       revenues                  we     are    somewhere          over       $40       million

25                         But       we    also        explained              in detail          in our
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        disclosures             that       the       university             suffered           intangible


        damages      in       the     form       of    loss       of    reputation                 and    we    gave


        examples         as     to    how       that    occurred                  University


        corporations             not       coming       to       the    university                job    fair        fall


       off     in applications                       diminution             in    quality          of    students             who


       were     applying                  And    we    explained             that          those    are    intangible


       damages       which           are    not       easily          calculated             and    which       will


       require       expert           testimony             in terms             of    valuing          that

                          And        then       we    also       explained             theres           another


10     category          of    damages           for which             we    will          also    need    expert

11     testimony              which        is    brand       rehabilitation                    damages              Where


12     corporation             suffers                reputational                damage           they    have          to


13     undergo       certain              expenses          in    terms          of    marketing and

14     promotion in order                       to    restore          their          reputation               And


15     again        that       will        be    the    subject             of    expert          testimony

16                        And        we    also       explained              Your          Honor        that             if


17     you    read       the    request              for production                   of    documents          and       the


18     interrogatories                    that       Yale    has       served              certainly       beginning

19     on    page    17       and     thats           attached          to       my    letter             there          are


20     multiple document                    requests             and    interrogatories                   which          were

21     based    upon          these        disclosures                  So       we    think       we    have


22     provided what                we     can       provide            And       quite        frankly          Your


23     Honor        we    had       no     further          information               beyond        what       we    put       in


24     there

25                        This        is    going       to       be    an    ongoing          process               We    will
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        be     able      to     supplement             as       we    obtain       our       expert       testimony

        and     reports             and    we       will    certainly             supplement             as    we    get

        additional              information                on    an     ongoing         basis       in    terms       of


        loss       of    revenues              or    grants           things       of    that       nature            But


        dont         have       any       further          information                 the    client          doesnt

        have       any    further              information                 and    we    put    that       together


        initially              at    the       request          of    Magistrate             Martinez          who    in


        asking          that        the    parties          come        together         and       try    and       resolve


        the    case           wanted           us    to be       as     complete         as    we    could          possibly

10     be     so     that       she       understood             the       magnitude          of    the       damages          as


11     of     that       time         which          is     you       know        maybe       six months             ago

12     Things           have        not    dramatically changed

13                            So     Im        not    sure       where       we    go    from       our       end         We


14     think       we     have        complied

15                            THE     COURT            Mr        Springer

16                            MR      SPRINGER                  Thank       you        Your    Honor            Let       me


17     start       at     the        end

18                            Although              there       are    numbers          there        there          are    no


19     computations                  of    damages               And       Ill     go back          through          it        but


20           think       it    helps           that    Mr        Weiner          has    gone       specifically


21     through                And     the       last       he    mentioned was                brand


22     rehabilitation damactes

23                            What        we    have       here       is         statement          that       there       will


24     be     brand rehabilitation damages                                       which       are    the       moneys       that


25     Dungguk           will       need        to    expend          to    rehabilitate             its       brand       name
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        and    will        have      to    engage          in          series         of    public           relations


        and    marketing             activities             to    rehabilitate                   its brand             name

        As    we    said       in    our       correspondence                    we    want       to     know         what


        damages          they       can    compute          to    date       with          regard       to       that            If


        it    is    zero        Your       Honor           we    ought       to       know       that       at     this


        point            All    we    are       asking          for    here       is       what       theyve

        expended               That       information             is       in Dongguks                 hands

        Presumably             they       have      receipts               they       have       canceled             checks

        And    if     they      have       expended             nothing          in the          18    months          since


10      Yale       noted       that       it   made             mistake back                in    November             of


11      2007        we    ought       to       know    that       as       well            We    ought        to      know


12      that       one    because          Rule       26a         requires             them       to    do       so    at    this


13      time

14                            And    they       have       been        you       know       --    at    the        time      they

15      filed       this       complaint            over          year       ago           they       could        have


16      reasonably             expected          to    provide             this       information                because


17      they       claimed          $50    million in damages                         in    that       complaint

18     And     so             and    furthermore                      you    know                so    if     theyve             got

19      zero        if    theyve expended nothing                                 if       they       have       done


20     nothing           with       regard       to         series          of    public          relations             and


21     marketing activities                                quite       frankly              we    are       puzzled          by

22     the     need       to    retain         an     expert          to    determine             the       amount          of


23     damages           in    this       category because                   its           going       to    be         series


24     of     expenditures                that      they        have       made            We    see    nothing             of


25     that          And        you       know        if    theyre           going          to    spend          some       stuff
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        in    the    future              monies          in    the       future           thats           fine            All       we


        want        as    weve           said       in our          papers           and       all Rule          26


        requires           and       we       agree           that       they       tell       us    what       damages


        theyve           incurred             to    date

                           THE       COURT               All       right           all    right                think        that


        clear       enough

                           Mr Weiner                     can       you    tell       us

                           MR        WEINER               They          have       not    engaged          in         brand


       rehabilitation program                             as       of    now       because          it    requires


10     engaging                person          whos           expert          in having             to    do    that            And


11     which        is    as     Ive          said       to    Mr        Springer          since          we met          in


12     August            this       is    something                that       we    are    in       the    process

13     and    quite        frankly             met       and       continuing             to    meet       with       people

14     and    we     will        select            someone                but       it    is    not       something             we


15     have     spent          to    date            It       is    something             that       will       be          future


16     expense

17                         And       the       type       of       detail          that    Mr        Springer             is


18     talking           about                and    we       have       now       researched             this       pretty

19     thoroughly                    there          is    no       case       law    that       supports

20     Mr     Springers                  position             that       essentially                we    have       to


21     provide           the     actual            receipts             and    things          of    that       nature

22                         Rule          26    is    there          to             for    Mr        Springer           to


23     understand              the       categories                of    our       damages           not       for     us      to


24     have     all       of     our      proof          of    our       damages          in    that       disclosure

25     And    not        only             we       actually             have       some    lower          court        cases
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        that   we    could          provide          to       Your       Honor       on       that         But    we     have


        in hand      as    much          detail          as    we    now       know           and    we    will


        continue      to       supplement                that                 have       nothing          further        to


       provide       to    him

                          THE       COURT            Okay           so    Mr        Springer


                          MR        SPRINGER                  Your       Honor           if         just    might


       all     were       asking          for       is    what       Rule          26a         requires           which       is


            computation             of    each       category             of       damages          and    the    making

       available          for inspection                       as    copying              the       documents          or


10     other     evidentiary               material                 unless          privileged             or    protected

11     from    disclosure                 on    which          each       computation                is    based            And


12     thats        all    were           asking          for        Your          Honor            What    it


13     requires

14                        The       reason          theres           no       case       law    is    people        comply

15     with    this            Ive        never          had         problem with                   this    in    the


16     hundreds           if    not      more            cases       in       federal          court

17                        The       other       thing               want       to    point          out    is     contrary

18     to    what    Mr        Weiner          said       here           the       expert       here       is    not     being

19     retained       according                to    the       initial             disclosure             statement


20     with    regard          to    determining                what          it    needs       to    do    to


21     rehabilitate             its       image               Its    basically                 as    it    said     in      the


22     disclosure              is    in the          process             of    retaining             an    expert        to


23     determine          the       amount          of    damages             in    this       category             And


24     again          dont           see       what       that       could          be    except          adding


25     invoices            If       thats                 and       theres           no       expert       thats
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        needed      for       that

                             Thats         contrary           to    what    Mr     Weiner          just       said


        about      the       need     to     retain          an    expert    to    determine             how    to


        rehabilitate              now      18    months           after    Yale    has       issued       its


       apology          in    essence

                             MR     GRUDBERG                 If    the    Court    please           you       know

       the    expert          neednt            be    the     same       person         If    you       have    to       get


       somebody          to    tell        you       what     the    best    way     is      in Korea          to


       rehabilitate               the      name       of     Dongguk        which       has        we    believe

10     has    been       trashed           here        thats         not    necessarily someone

11     whos        going       to     testify          as     to    what    it    costs       and       how    much       it


12     should       cost       and      so      forth             They    could    be     two      different


13     people       that       Bob      is      talking           about

14                           MR     SPRINGER                My     point     Ira        is    what       the


15     initial          disclosure              said       and     what    were      entitled            to         We


16     understand             the     other          point        thats     being       made

17                           MR     GRUDBERG                Well         weve     told       them       that


18     nothing          has    been        put       out    on     that    because        were          not    ready

19     to    waddle          around        in    the       water     crazily       until          someone       tells


20     us    how   best        to     go     about         this      as      understand             what


21     Mr     Weiner          said

22                           MR     WEINER             Thats         exactly       right           Your       Honor

23     We          if         had     further          information               which       is    pretty

24     detailed

25                        MR        SPRINGER                Thats         fine
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                                                                                                                        10




                           MR     WEINER               May         finish          Felix

                           If         had    additional            information              to    give       to


        Mr Springer                    would       give       it   to    him         Im      not       holding


        anything         back          Ive        given       him as         much    as          can    in       terms


        of    the    revenues            loss      revenues             incurred          expenses               loss


        donations               And    the    documents            that       he    has     requested             are


        the    ones      were         going       to    provide         to    him

                           Hes        asking       me    for Yale            to    say    something              that


        cant say                  dont        know       what      the       rehabilitation                 plan       will


10      encompass          nor    do    we    know       at    the      moment       what        its    cost       will


11     be       Its        one    of    the       things       weve          engaged        our       experts

12      about

13                         THE    COURT            Mr        Springer               think        we    have       an


14     answer       with        regard       to    brand       rehabilitation                damages

15                         MR     SPRINGER               Fair      enough                 understand              it    to


16     be     zero

17                         THE    COURT            Right

18                         MR     WEINER               Its     not           zero         Its         not    yet


19     calculated

20                         THE    COURT            Its        zero      as    of    today

21                         MR     WEINER               Its     not      yet       calculated           as    of    today


22     because        we    dont              were           not   in         position           to    calculate


23     it     because       we    need       someone          to   tell       us    how     to    go    about


24     doing        it

25                         THE    COURT            Right           To    be       clear      based          on    your
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                                                                                                                 11




        understanding              Mr        Weiner       the    plaintiff            has    thus       far


        incurred       zero       expense        with     regard      to       brand       rehabilitation

        You    expect       that       once     you    have     an   expert           there       will    be


        expenses       incurred             for brand      rehabilitation                   but    as    of


        today        the    actual          amount      incurred      is       zero

                           MR     WEINER          As     far as           understand              thats

        correct        Your       Honor          The     only    exception            is         think    we


        placed       one    ad    at    one     point     in    time       but           dont      know        the


        cost    of    that

10                         THE    COURT          Okay

11                         MR     WEINER          They     brought         that       ad    to    us    when     we

12      met    with    the       magistrate

13                         THE    COURT          Mr      Springer          where         would     you    like


14      to    turn    now

15                         MR     SPRINGER               might       as    well       start       at    the


16      beginning           Your       Honor      with     regard         to    these       categories

17      Injury       relating          to    students         perception            of     Jongguk

18      University

19                         THE    COURT          All     right

20                         MR     SPRINGER             Your     Honor          my   difficulty           is


21      there    is         statement           here           all of      these            Theres

22     decrease        in    the       number     of    student       applications                for    the


23     graduate        and       undergraduate           programs          as         result       of    the


24     Shin     incident               Theres           decrease          in    the      Oongguk

25     University            satisfaction with                  Dongguk         University               Those
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                                                                                                                                 12




        two     there       is       no    computation                in damages                   and     Im        at        loss


        to    see    what       further             information                Mr        Weiner       would          need      to


        be    able    to    tell          us    tell       us    at       this       point         what        those


        whats        the    computation                  of     damages             is    and        in    essence

        documents          that       support            that        or    tell          us    how    they       arrived            at


        that         We    have       the       information                     Im        at         loss       to


        theres        certainly                no    computation                here

                           MR        WEINER              Im      not       sure          what      Mr      Springer


       would        expect       me       to    do         These          are       reputational                damages          and


10     this     is    part       of       the       defamation             claim               Its        not    the       kind


11     of     loss    profit          analysis             or    loss          of    revenues             or    increased


12     expenses             This          is         jury       --         jury          should       have       to


13     determine           based          upon       these       facts          what          it   determines              the


14     reputation           value          to       be           could          put       any      number        on       it     but


15     its     not          computation                       Its         not       anything               can       come      up

16     with          fixed       dollar             amount            Its           totally          in    the       province

17     of       jury       in         defamation                per       se    case           which       this       is       and


18           dont     think          theres           any       law       out       there             its        totally            in


19     the    jurys domain

20                         THE       COURT            What       would          you       ask      the     jury       to    do


21     with    regard           to    the       decrease             in    the       number          of    student


22     applications              depicted             on      paqe

23                         MR        WEINER              One     of       the       things           we    were       asked         to


24     give    categories                      We    would       ask            jury          to   put          dollar


25     value    on        the    diminution                of    --       on    the       diminution             of
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                                                                                                                                 13




        reputation                  This     goes      to       the    overall             reputation             of    the


        university

                           We       are    trying          to    show       how       the       reputation             of    the


        university             has     been      negatively impacted                            and    there       are


        indicia       that          show     that           One       is    loss       of       application                  Two


        is      lower          quality          student               These          are    the       intangible


        aspects       of            reputational                damage          case

                                could       put       any       number          on    it    but       its        not


        calculation             in the          traditional                way        and       Im     not       sure       what


10      more    we    can       do         Its              ultimately                      thats           why    we


11      started       the       case       the       way    we    did            It    could          be    one    dollar

12      it    could       be         million dollars                       it    can       be    $10       million           but


13      its     not       that       kind       of    calculation

14                         THE       COURT            Do    you       propose          to       offer       evidence


15      that    would          allow            jury       to    make            reasoned             determination


16     as     opposed          to         speculative             guess          with       regard          to    the


17      relationship                between          the    defamation                and       the    decrease             in


18      the    number          of    applicants

19                         MR        WEINER                 think          that       is    evidence               The       fact


20     that     we    can       establish             that       there          has    been       an       adverse


21     impact        on    the       faculty           an       adverse          impact          on    the       students


22     that     would          apply       on    the       student          body           that       is    evidence


23     that     the       jury       can    consider             in determining                   that       their


24     reputation              has    been       diminished                     And    once       they       have       made


25     that     determination                    then       they       will          take       those       factors          into
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                                                                                                                            14




        consideration               in       reaching            number

                           But      getting          beyond          that        we    do    expect         to    have


        evidence         that       will       go    into       reputational                damages              And


        understand            there          are     in    the       trademark             area    or any         of


        these      areas           that       there       are    intangible                damages       that      need


        to   be    calculated                  Again           the    subject          of    expert         testimony

                           THE      COURT            So    dealing          just       with       decline         in the


       number       of     applications                   you    report               drop    of       approximately


        4000       between          2006       and    2008            Your       position          today          as


10     understand             it        is    that         jury       could          reasonably          find      that


11     some       number       of       those       are    attributable                to    the       defamation

12     And were               jury       to    make       that       finding           what       would      you

13     expect       the       jury       to    do         How    much       would          each    one      be    worth

14                         Lets          say    you             lets        say the          jury concluded

15     that         thousand             people       who       would       have       applied           but      for       the


16     defamation             did       not    apply            What       would       that       be    worth

17                         MR       WEINER                 would       expect          that       the    jury          in


18     terms       of    its       deliberation                 to    make       that       determination


19     based       upon       its       view    of               mean                cant              Im    not


20     trying       my     case         right       now              have       no    discovery              So    what


21     would       expect          it    to    do     is       make    the       determination               that       the


22     reputation             of    the       university             has    been       diminished                and


23     then        like       in any          case    where          you    have       intangible            damages

24       would          expect          the    jury       to    come       up    with         number         they

25     believe          was    appropriate                to    award       to       the    person       whose
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                                                                                                                           15




       reputation             was       diminished

                             MR        GRUDBERG            Such        as         usual       defamation          case

       its very               very       difficult          to     put            number             hard       number


       to         jury

                             The       plaintiff stands                 up    and       says    as     much      as    it


       can     say      about          the    indicia       that        would       show       that       the


       reputation             has       been       diminished               like         very     significant


       lowering          of       number       of    applicants                   Hopefully          well        be    able


       to    determine             or    well        be    able        to    show       that    because          of    the


10     diminution             in       applicants           the        overall          student        body      isnt

11     as    good       as    it       would       have    been         which       impacts          on    the


12     school

13                           Youve           got    the    figures           on    faculty           acceptances

14     and    nonacceptances                         And    it     just       seems       to me        that      if


15     youve         got           university that                          in Korean          terms        we    think


16     we    can     show         was    flying       pretty           high       and    all of            sudden


17     its        hurting                spent            bunch        of    money       on       law      school

18     which       it    cant           open       now     that        overall          the    number       is    up       to


19          jury         Bob       or         can    stand        up    and       say    we    think       its        worth


20     10000000                    Felix       can       stand     up       and    say    we    dont        think


21     its        worth       anything               But    reputation              damage        typically


22     is    --    and       the       hurt    imposed       to             reputation            is      something


23     that       really          is         jurys camp

24                           We    can       stand    up    and        say numbers             that       the    Court


25     or the        jury may            think       is    silly or           they       may    not         But       it
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                                                                                                                            16




        just    seems       to    me    that       its           not    the       kind       of    thing        that       is


        subject       to    the    kind       of       calculation                in         narrow        sense          that


        Mr     Springers           talking             about       as       far    as       26a
                           MR     SPRINGER                  Your       Honor           if         may

                           THE    COURT            Sure

                           MR     SPRINGER                       didnt        know          who         was


        interrupting                   hope       it    wasnt           you

                           MR     GRUDBERG                  It    was       me

                           THE    COURT            No        no        go    right          ahead

10                         MR     SPRINGER                  The    issue               think         as    Your       Honor


11     is    indicating            is       this       is         strange          case       and       here


12     reputation           damages          arguably             have       practical             consequences

13     And     what    were        looking             at    is    presumably                the     damages

14     calculations              and    what       is       being       set       forth       here             And    what


15     Mr      Weiner       and    Mr        Grudberg             are       talking          about        is    that       the


16     reputation           damages          in    these          categories                have     had       practical

17     consequences                And            think          your       questions              Your        Honor        are


18     exactly        the    right          ones            You    know           if    there        is         practical


19     consequence           here           how    are       you       calculating                the     damages

20                         For    instance              you       know        does          the    loss        of


21     whats      the       cost       of         loss       of    student                  Arguably           in          the


22     decrease        with       Dongguk          Universitys                    student          satisfaction

23     the    practical           consequence                of    that       was       to    bring        additional


24     revenue        into       the    school          because             these       students           had       to    take


25     an    additional           course           which          is    exactly             why    we     think       for
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                                                                                                                                17




        these     practical               consequences               we    ought          to     get      computations


                           THE       COURT           It    seems          to    me       that       to    the       extent


        the    damages          are       subject         to         reasonable                computation                    the


        plaintiff          needs          to   provide          one            If    the       plaintiff


                           MR        WEINER           Your       Honor                   think       we    have

                           THE       COURT           Mr Weiner                  if       the    plaintiffs

       position         is look                they       really          are       not     subject            to    that


        kind    of    computation                  then        the    plaintiff                should          say       so

                           As         listen         to    the       statements                that       have       been


10     made     today                recognize            that       there          is    some       truth          to    what


11     you     have     said         to    some      degree           these          damages             are    not


12     subject        to    calculation               in the          way       that        special            damages

13     typically           are       calculated                      think          that       we    might          be    able


14     to     advance       the       case      if    you       were       to       think       about          it    that       way

15     and     provide          Mr        Springer         with            clearer             understanding                   of


16     how     you    see       it

17                         MR        WEINER           Your       Honor                   think       we    did       exactly

18     that          Maybe       we       should      go       directly             to    the       disclosures

19                         THE       COURT           Well        okay

20                         MR        WEINER           Okay                 mean                would       like          to    walk


21     you     through          it    then

22                         THE       COURT           Let    me       see       if         can       help

23                         In    this       part      of       your       disclosure                      and       Im

24     referring           to    page          --     you       point          out       that       youve

25     experienced                   decline         in applications                      and       Im     wondering
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                                                                                                                            18




                            MR     WEINER              Just       so    you       understand              our    thinking


        on    this      Your       Honor          the       first                pages            and       and       the


        first    half        of    10     go      to    the       reputational                   damages        that    we


        were    just        talking       about

                            THE    COURT           Right

                            MR     WEINER              Then       when       you       go    to    the     next


        element        on    page                 Number               on    10        where       Mr      Springer

        asks    for     the       practical            impact           where          it    actually           comes


        into    actual        dollars             where       we       can       determine               then    we    talk


10      about    it          We    talk      about          the    loss          of    grants           corporations

11     donations             sponsorships               and       individual                donations            and    we


12      spell    out        the    dollar         amounts

13                          THE    COURT           Right

14                          MR     WEINER              And    then          if    you       go    through        there

15     we    actually         show      there          were       $20       million promised and

16     $5    million received                      And       we    have          the    actual          numbers        for


17     Mr      Springer

18                          THE    COURT           Right

19                          MR     WEINER              It    continues                into       page     12     and    we


20     were     very        specific         about          the    campaigns                that    were        involved

21     And     then    you        get   to    page          13     which          talks          about     the    law


22     school     in very           specific            terms           about          the       losses     that       were


23     incurred        and        the   loss       revenues             that          were       resulted        from       the


24     fact     that    we        cant       open            law       school

25                      And        then      we   move        on       to    the       intangible           damages          in
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                                                                                                                              19




        terms       of     brand         rehabilitation

                              THE    COURT            Okay

                              MR     WEINER                 think          we    have       provided              again

        what     we      can    provide

                              THE    COURT            So    --


                              MR     WEINER            We       gave       it    to    them

                              THE    COURT            Are       you       saying           in    other       words           that


        for    those          items       that    appear             on    pages                      and    10     under


        Numbers                     and          you       do    not       believe          that       they       are


10      subject          to    the       kind    of    computation                   that       you    provide          for


11      Items            and


12                            MR     WEINER            Thats              what       Im     saying           Your       Honor

13                            THE    COURT            Mr        Springer

14                            MR     SPRINGER               Well           this       is    my    difficulty             with


15      that        Your       Honor            With       regard          to    our             are    we       then


16      saying        that      when            think       of       practical             consequence                   look


17      at    the     decrease            in    student          applications

18                            And    lets        just       assume              as    we    must       for       this


19     exercise               that       theyre        claiming             all       of    this       is


20     attributable                 to    Yale        and       we    then       look             and            want    to


21      know    what          profit       they       make       on       each       additional             student


22     here

23                            For    instance              if    the       class       size       went       down       to


24     2727           how      many       fewer       faculty             did    they       higher          in    fact       as


25     result         of      this         May    it       have       been       more       profitable             for       the
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                                                                                                                          20




        university            to    operate               Or     you    know           did       they    --         dont

        know      what       they    did    in       relationship                to    this       decreased          size

                             Similarly           you       know        the       increase          in    the


        students         who       rejected          the    offer       of       admission              leaving


        aside      all       the    causation             arguments              you       know     what


       practical             effect    did       that       have            Did       it    have    any       effect          on


        enrollment                 Couldnt           we    get    back       to


                             Similarly                want       discovery             with       regard       to


       and        you    know        what       practical             effect               But    what       Im

10     hearing          is    the    presentation                at    trial will                say     you      know

11     in    essence          this    is        you       know        injury          to    reputation            and


12     this       is    one    of    the    fallouts             and    we       really          cant        provide


13     any     computation            or    any       guidance          for       you       and    we    will       leave


14     it    in    the       realm    of    speculation                because             thats        where       we    see


15     it      Your      Honor         And           you    know        if            can    come       up    with


16     these       suggestions              and       Ill        go    through             the    numbers           by    the


17     way        for         and      because                 think        were             long       way    from


18     damage          computation          on       those       even       though          there       are    numbers


19     set     forth           But    here       were essentially                          being    told       the       jury


20     can     speculate              And       by    the      way      Mr        Springer              youre

21     discovery may                well    be       irrelevant             to    all of          this

22                           MR     GRUDBERG               Thats        not       what       were        saying          at


23     all        Judge

24                           MR     SPRINGER               Then       why    not       provide          computations


25     along       those       lines       or    show       us    where          the       practical
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                                                                                                                               21




        consequences                play       out         And       not       leave       it    in the       realm           of


        speculation

                           MR        GRUDBERG                  The    26a            doesnt           end    discovery

        it    sort of          begins          it         You       put    something             out       there         the


        things       that       Mr        Springer             is    talking             about        we    want        to    know


       what     the       profit          is    per       student              we    want       to    know    this            that


       and     the    other              hes        entitled          to       depose       people           hes

       entitled           to    get       documents                 all of          those       things            But        26a
       is     not    supposed             to be            volume          of            zillion       pages             And


10     just     because             he    thinks          he    would          calculate             damages        somewhat


11     differently than                       Mr     Weiner          has        hes entitled                      But        hes

12     entitled           to    get       discovery             and       so    forth

13                         But       we       just    started             this              dont           think        thats

14     what     26a            is    about            We       put    in            calculation              of     the


15     things        we    feel          we    cant        calculate


16                         MR        SPRINGER                  Thats           not         calculation                  Ira

17                         MR        GRUDBERG                  Well        in terms             of    the    numbers           of


18     Mr      Weiner          throughout             the       writing             of    the    $40       million            its

19           calculation                  Its        an    addition                  And    it       points       out        they

20     had     21000000                  in    pledges          and       they       had    5000000                in    change


21     in     computer          payments                  Now        you       know        whatever          else        may

22     have     happened             to       Dongguk           he    can       look       into       that          But       it


23     is       calculation

24                         We       added       two       or    three          numbers          and    came       up     to


25     $40    million                And       to    say       that        just          guessing             unless           the
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                                                                                                                                       22




        feeling          is     going         to       be    just       because             Dongguk          is    an


        institution                 it       cant           have       general             damages       to       its


        reputation                 which          may       not    be       fully          shown       in the          various


        smaller          piles          of    money          we    thought             that       we    had        that          we


        otherwise             would          have       had            We    believe           Dongguk            is    not


        entitled           because            its                corporation                 because          its           an


        entity        to      general             damages               General             damages          are       just       that

        Who     knows         what       pain          and       suffering             are    worth               Its        up       to


        what          jury         tells          us    its worth                      There       will       be       testimony

10      concerning              it       and       however             compelling             or       winning          it       is

11      well        see       in    front          of            jury        if       it    comes       to    that

12                            But       it    just          seems       to       me    that       just       because             we


13      cant        put            number          on       general          damages              reputation                damages

14      would       mean        that         no    libel          action          could       ever       go       to         jury on


15      general          damages                  And       we    know       thats           not       the    law

16                            MR        SPRINGER                  Your       Honor           if         may        one       thing

17      you    said           Ira        you       said          that       Mr        Weiner       and            may

18      calculate             damages             differently                     The       difficulty             here          is


19      there       is     no      computation                   or calculation                   of    any       damages             and


20     we     are     left         in    the       dark          and    we       are       left    to    think          that          all


21      that     is      going          to    occur          is    speculation                     There          is    no


22     calculation                 or computation                      with       regard          to                   or             and


23          would        maintain             with          regard          to         and         as    well

24                          THE         COURT           Would           you       please          tell       me    why       you

25     view           and           that          way       so    we    can       better          understand                the
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                                                                                                                         23




        dispute         with       regard       to    those        items

                          MR         SPRINGER              Sure        Your    Honor            Let       me    start


        with        because             its easier               and    we    can    go    to


                          Well           start       also    with       the    back        which          is         if


        we   could            This       is    on    page    14

                          THE        COURT           Yes

                          MR         SPRINGER              The    damages       in     this         category


        include         the    following                  Reconstruction             of    the       law


        department            building              okay         And    it    says     $8.7         million              Are


10      we   to    understand                   thats             number       that       is    put       out       there

11      okay        And       if    were        being       told       thats        the    damages              then


12      were       to    assume          that       this    building          has    no    other          use

13      cannot      be    resold              has    no    value       at    all     that       the


14      reconstruction                  has    no          similarly          for    the       new


15      construction               of    the    law       library       and    mock court                 2.4       that


16      these      have       no    value       whatsoever             without            law       school           And


17      similarly         for       the       purchase       of    real       estate       and       construction

18      of        law    school          dormitory           that       these       have       no    value


19     whatsoever

20                        What          we    understand          is    this    is    an       expense          that


21     has     been      laid       out        but    to    call       it    damages       is       to    tell      us


22     that       these       have       no    value        cant        be    sold        there          is    no


23     utility          for    Dongguk               That    is    my       difficulty          with          the


24     numbers

25                        THE       COURT            Okay
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                                                                                                                              24




                           MR        SPRINGER               And       the       newly       hired       law    school


        faculty       members             and       the    salaries             provided          them        are       they


        not    teaching          anything             else            Have       they       not    taught          anything


        else         You    know           is       this             is    that       what    we       are    being

        told         And    thats              why    we    want               calculation

                           If    were           being       told          these       are    the       damages          and


        thats        what       it    is thats                  fine           but    just    to       have         number


        doesnt        tell       us       the       damage       calculation


                           Similarly                 if    you       go    back       now    to    loss       of    annual


10      earnings           that       presumably                is         calculation             that       in essence


11      there    are       expenses             and       there       are       revenues          related          to    that


12      and    there       would          be    documents             that       we    would       be    able       to    see

13      beginning          in    2008           so    presumably                it    occurred          last       year       and


14      presumably the                law       school          they       claim       would       have       opened          in


15      2008         You    know           something                  have       difficulty             with

16                         The       loss       of    annual          government             grants

17      3.5    million               Are       we    saying          that       there       are    no    expenses

18      whatsoever          related             to    any       of    these            If    thats           so thats

19      fine     but       typically                 you    know           Your       Honor             and         serve


20      on    lots    of    nonprofits                    and    deal          with    lots       of    educational


21      institutions                      grants          come       with       requirements             and


22      expenses            So       it    is       not     you       know             simple          matter       of        you

23      know     them       losing             these            And       if    theyre        telling          us       these


24     are     essentially                gifts       to    which              you    know        are    being          given

25     to     Dongguk           thats           not       what       it    says         It    says       grants
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                                                                                                                 25




                          Then       loss     of projected            annual       donation          which


        would      come     from      law     school      alumnae            So    we    are    finding          out


        that     every      year       starting          before       they       have    graduated


        maybe        because         were      asking         for    it    now     were        going       to    get


        $2000        from      each    graduate               The     first class             even    if    it


        opened       in   08         presumably          if    its          U.S        style    is    three


        years        is     you      know      going      to    start       in    2011

                               raised        funds     for three           educational


        institutions                 You     know      Your     Honor        maybe       Harvard       because


10      of   its     grants       gets       2000         year        but    thats             different


11      story

12                        Let     them      estimate          what    they       will     but    thats           my

13      difficulty              We    have          number      here       that    is    not         damage


14      calculation             its           number      thrown          out     as    you    were        for    an


15      item    without         taking        into     account        what       the    value    is    to


16      Dongguk           If    theres         nothing         thats        fine

17                        And     similarly            then         with    regard       to    these        what


18      expenses         are    associated           with      an    item         Thats        Number


19                        You     know        Im     happy      to    go    to    Number         and       talk


20     about       the    same       matter      there

21                        THE     COURT          Lets         stick       with    Number


22                        MR      WEINER           May         respond           Your    Honor

23                        THE     COURT          Yes      please

24                        MR      WEINER            First      of    all     this       isnt     what


25     Rule     26    requires              Mr      Springer         is    raising       his    problems
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                                                                                                                                   26




       with       the     damages            that       we       have    going          forward                  He    thinks


       weve         overstated               them            Thats           his       prerogative                     These       are


       the    damages             we    believe             were       appropriate                     We    put       them       in


       there        for      that       reason

                             Now        weve                 also       it    was       attached                 Your       Honor

       to    my     letter             from       Mr        Springers              document                request               And


       if    you       look        beginning                at    page       17    of       that       request              for the


       next       five       or    six       pages           and       then       further             on    in    his


       request            he      has       sought          the    very       type          of    detail          he    is       now


10     saying          that            party       must          provide          in         Rule          26a
11     disclosure                  Theres              no    authority             for       that

12                           We    have       complied             with       this          rule       as    far       as    we    can


13     do         If    he     wants         to    argue          at    trial          that       our       damages          are


14     overstated              because            we    didnt           take       into          account          certain


15     expenses          or       certain          uses          for         building             that       might          be    used


16     for    some       other          reason              he    has    asked          for       that       in discovery


17     but    its        not       my       obligation             to    agree          with          him that          my

18     damages          should          be    discounted                under          his       theories

19                           THE       COURT            Lets           see    if       we    can       figure          out       how


20     best       to    proceed             from       here

21                           MR        WEINER               Why    cant           we    go       to    the       discovery

22     requests          and       provide             him with          the       discovery                hes seeking

23     This       is    not            matter          where       he    doesnt              know          what       hes

24     looking          for            He    knows          very       well       what       hes           looking          for

25     We    have       to     provide            him with             that       detail               Hes        already
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                                                                                                                    27




        asked    for       that

                           THE      COURT       Lets           just    talk       this    through


        little       bit     more      and    maybe       it    will       wind    up    benefiting            all


        concerned


                           Focusing          on part       five        taking       each       point       in the


       order     in which           the      points       were       made          gather           Mr     Weiner

       that     with       regard       to    the     $8.7      million claimed                for


       reconstruction of the                    law       department          building              what      we    see


       is       number           8.7    million            That        as    far    as    you       know       is


10     the     cost     to    reconstruct            the       building

11                         MR     WEINER            Correct

12                         THE      COURT       And       similarly           the       2.4    million         for


13     the     new    construction             of         law    library          and    mock court            is


14     the     number        that      you    have     received            from    your       client       and      it


15     reflects         just      that        the    cost       to    build       this    library          and


16     mock     court

17                         MR     WEINER            Right

18                         THE    COURT         So     stepping            back    from       this       am


19     right         you     have      prepared        this      document          in conjunction                  with


20          settlement           conference

21                         MR     WEINER            The    initial                yes         The    initial


22     request        from       Magistrate          Martinez          in    anticipation             of      the


23     settlement            conference         was       for us       to    spell       out    as    best         we


24     could     the       basis       for    our    damages

25                         THE    COURT         This       was       its    intended          purpose         at    the
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                                                                                                                    28




        time    you    pulled           these    figures          together              which    is


        distinctly          different           purpose          from       the    one    Mr     Springer           has


        in   mind      which       is     satisfying             the    requirements             of     Rule       26


        insofar       as    it    calls       upon     you       to    provide            computation              of


        each    category          along       with     documents             and    other       evidentiary


       material        on    which        each    computation                is    based

                           MR     WEINER               dont           see    there       being     any


        difference           Your        Honor         In    fact             would       say    Rule        26    is


        less    demanding          than       Judge              Magistrate             Judge    Martinezs

10      order

11                         THE    COURT          Okay        well           lets        think    practically

12     about     this       situation

13                         Mr     Springer            hopefully you                have         better


14     understanding              with     regard       to       exactly          what    youre         looking


15     at      and    on    that       assumption            would          you    be    content        to    seek


16     the     type    of    detail        that       you    believe          should       have       been


17     included        but       was    not     through          the    discovery          process           and    in


18     that     way        you    know        expect        to    receive          the    detail        that       you

19     have     not    yet       been     given

20                         MR     SPRINGER             The       difficulty               have     with       that

21     Your     Honor        is    that          hear       what       youre        saying       and         you


22     know           dont        want     to    create          more       work    for    all     of    us       than


23     is    needed         but    the     difficulty                  have       here    is    that


24     Rule     26a                     iii      provides             for     as    youve        read        and


25     Ive      read       now     copies        of    the       documents          or    other
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                                                                                                                                  29




        evidentiary             material              upon       which       these       computations                   are


        based         We       will       now       know       in    advance        to       that      what


        assuming          we    have          heard       that       these        are    the       damages          now


        claimed           we    will          now     get      those        documents             in   response              to


        that

                           What               am    concerned           about           Your       Honor           is    the


        answers       to       the       requests           for      production              or    even


        interrogatories                   may       not     yield       the       same       information

        fear    we    may get             objections                   We    will       be    derailed                  And


10      this    is         clear          path       to     that       than       what       ought       to    be


11      provided

12                         Presumably                this        was    done       with       the       8.7    million

13      and    the    2.4            We       ought       to     get    this       information                so    that

14      you    know        we       dont           have     to      worry     about          future       fights              we


15     dont      have          to    worry          about        whether          the    interrogatories                      map

16      this    exactly                  If    we    have            dispute        in       the       future           we    can


17     refer         as    often          we       do     to     the    responses             to       initial


18     disclosures

19                         And       thats           my     concern           Your       Honor           that       by       not


20     honoring           this           Im        left     with        you       know        having          now       to


21     speculate           as       to    what       necessarily              would          have      been        produced

22     here          And       whether             they     map      exactly            whether               have


23     everything              and       it    creates               lot     more       work       and    quite


24     frankly             lot       more          anxiety          than     it    would          to   get     responses

25     to     these             to       these       initial           disclosures                to   which        again          we
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                                                                                                                        30




        believe       were entitled                     particularly                if these             are    now    the


        claimed       damages               its    kind       of    easy       to       set    forth       what       the


        documents          are          Presumably            they       looked          at    some       documents


        to    come    up    with       these       numbers          and       we    can       get    them

                           MR        WEINER         Your       Honor                dont understand                    what


       Mr      Springer          is     saying           The       rules           the       advisors           notes       to


        the    rules        Moores           on    federal          procedure                and    any    Court       that


       has     construed             these     rules         has    made       it       very       clear       that    the


       burden on the                 plaintiff          to    provide          these          types       of


10     disclosures              is    in    the    detail               We    gave       more       detail       than


11     those        rules       even       require            And       beyond          that        it    was    for    the


12     other        side    to       have    an    opportunity                so    they       had             they    can


13     frame        their       discovery          requests              so    they          know    what       to    look


14     for     in    discovery

15                         It    is    not         substitute                for discovery                 and       thats

16     exactly        what       Mr        Springer          just       said       to    you         He    said        we


17     cant         rely on          and    trust       discovery             so    we       want    this       all    done


18     today          Thats           not    whats           appropriate                under       this       rule

19     The     rule    is       set    forth       so    that       Mr        Springer             understands          my

20     categories           of       damages        which          he    does           he    understands             how


21     Ive      calculated             my    damages           to       the    extent          he    can        he    also


22     understands              that       there    are       intangible                reputational             damages

23     that          cant        calculate          at       the    moment               He    has       therefore


24     now    served        his       discovery          request               Is       he    now    going       to


25     withdraw        them          because       theyre           no       longer          necessary
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                                                                                                                         31




        doubt      that

                             He    has          and        weve        provided        them       to    you        Your


        Honor               he    has       category        after       category           after       category          of


        document            requests          based        upon       our    disclosures           and


        interrogatories                     based     upon       our    disclosures                It       is    not    my

       burden          at    this       point        in    the    proceeding           to    take       into


        account         all       of    the    arguments              that    he    has     made       as    to    why    my

        clients             damages          should        be    discounted

                             He    has       enough              well        argue     that       to    the       jury


10     when       the       time       comes              but    we    believe        that       when       we    say


11     that       we    spent          $8.7    million on                   building         were           entitled


12     to    be    compensated                for     it        when    we    say     we    spent


13     $2.4       million on                  library            were        entitled        to    it            Weve

14     complied             with       our    burden

15                           THE       COURT          Mr Weiner               you     may want          to       repeat

16     the    last          part       of    your     statement             because        the    reporter


17     couldnt              keep       up    with     you

18                           MR        WEINER             Im     sorry        when     we    gave       the


19     categories                and    we    were        very    specific          with     the       amounts            8.7


20     for    the       new       building            2.4       for    the    building           and    mock court

21     6.3    for the             law       school        dormitory          as    well     as    the       other


22     specific             elements           they        were       put    in    there     because             they


23     were       specific             computations              of    damages        which       we    believe          our


24     client          has       suffered

25                           Mr        Springer           understandably has                 arguments             why
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                                                                                                                         32




        those    numbers             should       be    discounted                 but         have     fulfilled


        my    burden       in complying                with       Rule    26a            by    providing           him


        with    the     categories               and    our       computations                  Thats         why       we


        now    have     discovery                he    will       see    whether          hes      correct          that


        these    were        used         for    other       purposes          or could          be     used       for


        other    purposes             and       that    those       damages          should        be


        diminished              assuming          that       we    win    on       liability

                           But       in    terms       of    where       we    are       at    this     point           it


        seems    to    me       we    should          move    on    to    the       discovery           phase       which


10     hes      already          served

11                         THE       COURT            All    right            May    reaction           to    all       of


12     this     is    as    follows                    hark       back    to       the    discussion           we       had


13     about     how       to    try       to    tackle       this       very       unusual        case       in         way

14     that     would       hopefully             promote          the    goal       of       achieving

15     prompt reasonable                         inexpensive             disposition               to    the       extent


16     those     goals          can       be    achieved

17                         Right          now    our    focus       is    not       on    damages        but       on

18     liability                Damages          are    in    the       picture          because        we    hope

19     that     you    can       have           meaningful settlement                          conference           at


20     the     end    of    this          initial       phase            But       the    main     focus       is       on


21     liability

22                         It    is       conceivable             that    the       plaintiff           will


23     encounter           great          difficulty          trying          to    impose       any     liability

24     on     Yale     but       whatever             the    case    may       be        the    objective           is       to


25     enable        all    of       us    to   get          better       handle          on    that     as    soon          as
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                                                                                                                             33




        possible          so    that       people       dont         spend             lot       of    time       and


        effort       and       money needlessly

                           With       that       in    mind           dont           think        the       plaintiff

        should       be    ordered             to produce           additional              work       product


        reflecting             the    details          that     one       can    at       least        arguably


        contend          are    called          for by        Rule    26a                        iii

                           Mr        Springer                 would       leave        it    to       you    to    follow


        up    with       your    discovery             requests           in    this        context          and


        request          another          conference           if    you       think        that       the


10      information             you       received          through        discovery              is    insufficient


11      to    enable       you       to    prepare          adequately           for             meaningful

12      settlement             conference              because        of       course             want       to    do    what


13           can    to    lay    the       groundwork           for            meaningful              settlement


14     conference

15                         If    the       case       settles         fine           if     it    doesnt settle

16     then          guess       we       will    be    confronting              potentially                 thorny          and


17     even        frustratingly complicated                          questions              about          damages

18     Where        one    draws          the    line       between        sufficient                 evidence          to


19     support             reasonable             estimate           by         jury        on    the       one    hand

20     and     on    the       other           impermissible              speculation                 and    folded


21     into        that    would          be    issues       relating           to    causation               as    you

22     mentioned

23                         So    rather          than       enter     the       order        that       you       request

24     Im      going       to    leave          you    to    the     discovery process                       given       the


25     particular              concerns          we    have     in this          case        and       our
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                                                                                                                      34




        particular           objectives            in this          first        phase

                              think        we     know      that     with        regard    to    Items


        and          there      is    no       computation            available          and       dont          see


        need    to     insist        on    having        one    done         particularly if                it


        diverts        attention           from       the     main     event       here    in this          phase

        which     is    liability

                         With        regard        to    Items            and             recognize          that


        these     numbers        raise          lots     of    questions           and         expect       that


        you    will     be    able        to    get     answers        to    those       questions           if       not


10      through        formal        discovery              then     perhaps        informally               But


11      certainly        you     do       have     legitimate             questions        as    you       have


12     demonstrated             in your          statement            regarding

13                       While             have       you     all on        the    phone        perhaps          it


14     would     be    helpful             Mr      Springer            if    you    expressed          your

15     thoughts        on     Item


16                       MR      SPRINGER                Well        theyre         similar           Your       Honor


17     to     Item


18                       What        we    have       here     is    we     have    two    sets       of


19     numbers           We    have             total       approximate            donation        amount         that


20     has     been    promised and                then         total        approximate           donation


21     amount        that     was     actually           received

22                       THE    COURT             Riqht

23                      MR       SPRINGER                We    have          difference          of


24     $15.6     million              They       are     saying        that        you    know             one    of


25     the     immediate        questions               is      What        is    the    typical       yield          on
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                                                                                                                            35




        these     sorts          of    pledges               Do    they       always          get    100       percent

        And why        do    they          think       100    percent          is       warranted             here

                            We    --       there       are    the       same       kinds       of    questions

        There     is    absolutely                no    discounting                 and       we    suspect          that


        some    of     the       donors       to       get    out       of    their       pledges             would       have


        indicated           something              like      personal          issues               Thats           been    my


        experience                     loss        in the         stock       market                business


        reversal            all       sorts       of    reasons          come       into       play            But    they

        like    their        estimates             in     Number               are       basically             saying

10     that     there        is       no    discounting             for       the       hosts       of    reasons          that


11     occurs        here             And    thats           their       calculation                     We    understand


12     that     now     that          this    is       their       calculation                of    damages

13                          Theyve           indicated             on    the       next       page             categories

14     of   donations             and       what       was    the       target          amount           and       then    the


15     amount     promised

16                          So    one             those       are       essentially                the    questions

17     that       to my          mind       Your       Honor        fall       in       the    same       category          as


18     we   had   with           the       real    estate           if       you    will            Why       is    there       no


19     discounting               in    these       circumstances                        And    if    youre

20     claiming         100       percent              thats        fine

21                      And           all    attributable                to    Yale

22                      THE           COURT            That       appears          to    be    the       case

23                      MR            SPRINGER               Thats           what       Im     understanding

24     Your     Honor             Thats fine

25                      THE           COURT            All    right            It       seems       to    me       that    if
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                                                                                                                                    36




        we    are    going        to    have            meaningful                  settlement             conference


        and    if    the     plaintiff             is      going          to    claim          these       figures             as


        the    basis        for    its demand                   then       at       some       point       in     advance            of


        that    conference                 the     plaintiff               should          provide           us      with       the


        information             that       Mr      Springer               has       requested                Perhaps            the


        plaintiff          doesnt            need       to      provide             all    of     the      detail          that


        one    could       dream        up    in           set       of    interrogatories                      or


        deposition questions                       for an            expert          witness            but       the


        plaintiff          does        have      an     obligation                  to    prove       causation                     The


10      plaintiff does                 have      an     obligation                  to    mitigate           damages

11                              think        the      plaintiff                would       be     serving            the


12      interest       of       all     concerned                including                the    plaintiff                 if


13      further       information                were        provided

14                         MR     GRUDBERG                   Its          possible             also        Judge           that


15      further       information                could          go    the       other          way    from        the      way

16     Mr      Springer          is     trying          to      push       it            The    fact       is        you       dont

17     often        spend       $40    million             to    go       to    law       school        on      dorms          and


18      library       and    so       on     and      so     forth         without             borrowing           money

19      If    you    didnt        borrow           money             if    you       had       the   money           to    put

20     up      the    loss       of     the      use       of    the       money           and       the     fact         is    that


21     if     they    knew       they        werent             going          to    have            law     school            right


22     away         they    probably wouldnt                          have          built       it

23                         MR     SPRINGER                   But      Ira       thats           precisely             the       kind


24     of     calculation             were         entitled               to         If    youre           borrowing                the


25     money and           youre           paying          interest             on       it thats               exactly
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                                                                                                                              37




        what    should          happen               Dont           speculate          and    tell       me     that           It


        should       be    in       26a
                           MR        GRUDBERG                  It    shouldnt           be    in    26a                 You


        ask    for it          in    your       discovery             for       Gods sakes                 Ive          never


        seen         26a            as    complete             as    the    one    Bob       put    together             on


       this     one       in    my       almost       50       years       of    practicing             law          And      as


       he     says        you       ask       for    it    and       you    get    it

                           But       Im        just       pointing          out    that       at    this        stage         of


       the     game       if    you       figure          in    interest          problems          and       so     forth

10     the     number          may       be    higher          rather       than       lower        thats            all

11                         MR        WEINER               Your       Honor        were        happy        to      provide

12     Mr      Springer             with       the    backup          documents          that       support             every

13     number        that       we       put    into       our       disclosures                  But    again

14     Mr      Springer             continues             to    argue       why    these          numbers          should


15     be     discounted                  Thats           his       prerogative

16                         Just          so    were clear                  while       hes        taking        issue


17     that     we    may       be       attributing                100    percent       to       Yale        hes        also


18     attributing                   percent          to       Yale         Maybe       theres                middle


19     ground        out       there          that    we       can    reach       when       it    comes        to      trying

20     to     resolve          this       case        but       this       is    not    just            oneway

21     street

22                         THE       COURT            Well           we    dont        have         jury        here           We


23     have          difficult                case    to       contend          with     and       to    try       to


24     resolve                  think          Mr     Springer             has    made       some       good       points

25     They     seem       to    me       to    be    fair          and    reasonable               If    the
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                                                                                                                           38




        plaintiff          believes            in    good       faith       that       it    can       claim       every

        dime    it    cost        to    build        the    law       school           okay            If    the    claim


        is   that     the    facility               is    essentially             useless              okay         But


        that    doesnt            sound        fair and          reasonable              to me         and         doubt


        thats        going        to    be    the        plaintiffs              position

                           Similarly                Mr     Springer          points          out       that       the


       plaintiff           cant         realistically                 maintain           that      Yale       is


        responsible          for every               single          lost    donation             to    the       last


       penny         and    clearly           such          claim       would          be    absurd               Lets

10      speak      frankly              That        would       be    ridiculous                       dont        think


11     the     plaintiff intends                     to    be    ridiculous                  So    further


12     information           along           that        line    is    clearly          in    order

13                         While            you     know        we    can    accept          for       today       the


14     reality        that    Items                 through            are       advanced          simply          to


15     sensitize           Yale        to    the     practical          consequences                   that       one    can

16     discern        in these              numbers              decline          in population                    decline


17     in student           body            increased           dissatisfaction among                         the


18     student        body         et       cetera         you       know        you    dont           have       anything

19     you     can    offer        today          that     would       be    in the          nature          of


20     calculation           of        damages             But       still       to be       clear           the


21     numbers        are    put        out       there     simply          to    sensitize             Yale        not     to


22     suqgest        that    at        some       point        in    time       the    plaintiff             is    going

23     to    try     to    hold    Yale           responsible           for       each       and       every       student


24     who   decided         not        to    go     to    this       university              et       cetera

25                           mean                 think         speaking         plainly               thats        whats
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                                                                                                                                39




        going      on          Thats            not    the       end       of     the       world        but       please

       hope       that        we    will        be    able       to     have            surer           more       realistic

       more       balanced              statement           of     damages             in advance             of    the    hoped

        for    settlement                conference              thats            going       to       come    along       in


       matter          of   months

                              So         would        urge       the       plaintiff              to    take       these


       matters          into        account                  do       think          that     its             whole       lot


       more       effective              for     lawyers           to      exchange           views       and


       information                 in         conference              than        it    is    through          the


10     formality            of      written           discovery              requests             and    responses

11     would       hope        that        you       would       take        advantage             of    the       time    we


12     have       to    enqaqe           in     that    sort          of     back       and       forth       off    the


13     record          in   advance             of    the    settlement                 conference                 and


14     volunteer            to      be     available             to     help         facilitate           that       if    you

15     wanted          to   have         that        kind    of       an     exchange             with    me

16                          MR        WEINER            Your          Honor            we    would       appreciate             any

17     efforts          that        you       can     make                 do     think       that       both       sides


18     have       served           their        first       wave        of      the     document          requests

19     interrogatories                     and       notices          to     admit          and    that       will       help

20     the    parties                    would        presume              to     reach       an       accommodation

21     if we       can

22                          And       in      terms     of       Dnngguks               calculation                 as    Im

23     sure       Your      Honor          is    aware           often          as     cases       progress              both


24     sides           view      of      damages        will          change                The    defendants             often


25     go    up    and      the       plaintiffs             often           go      down         but    there       needs       to
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                                                                                                                40




        be       flow    of    information             in    order       to    get    there

                         MR        SPRINGER            We    would       agree       with    that

                         THE       COURT              think       we    all understand             what       you

        have     just    said        and         know       that       youre     all very


        experienced           and    very       capable                 know    that    you    have       the


        emotional        intelligence                 not    just       the    legal    acumen        and


        experience            to    put    yourself          in    the    other       persons

        position         and         hope       you    will       do    that     because       to    me        you


        know      thats        what       separates          the       really    good       lawyers       from


10      the     rest    and    thats        what       promotes          fair        just    and    speedy


11      resolutions           of    cases        especially             difficult       cases            So


12      hope     that    you       will    use    your       resources          to    make    progress          in


13      the     weeks    and       months       ahead

14                       On that          note          will       let    you    go    and    wish       you

15      luck     and    remind       you    that       Im     here       if you       need    me

16                       MR        SPRINGER            We    appreciate          that       very    much

17      Your     Honor         Its        why    we    came       to    you    this    time        and


18      think     this    conference             has    been       beneficial                 would       hope

19     Mr      Weiner     feels       the       same    way

20                       MR        WEINER         We    do        Your    Honor

21                       THE       COURT         All    right           good

22                       MR        GRUDBERG            Thanks           Judqe

23                       THE       COURT         Youre        most       welcome

24                                  Proceedings             adjourned           at    240 p.m p.m

25
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                                                                                                  41




                                           CERTI FICATE


                          In    Re     DONGGUK        UNIV        Vs   YALE    UNIV




                               Darlene             Warner        RDRCRR       Official    Court


        Reporter     for       the    United       States       District   Court   for    the


10      District     of    Connecticut              do    hereby    certify     that    the


11      foregoing     pages          are       true      and    accurate   transcription        of


12     my    shorthand         notes       taken    in    the    aforementioned        matter   to


13     the    best   of    my    skill       and    ability

14


15


16


17

                                /s_______________________
18
                                     DARLENE             WARNER     RDR-CRR
19                                     Official Court      Reporter
                                     450 Main Street        Room 223
20                               Hartford           Connecticut  06103
                                               860        5470580
21


22


23


24


25
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DONGGUK         YALE   UNIVERSITY                                                                 September   15   2U10




                                                                                                          Page

          IN    THE     UNITED      STATES      DISTRICT         COURT

          FOR    THE     DISTRICT         OF CONNECTICUT

          CIVIL ACTION             308-CV-0044l                RNC


          DONGGUK        UNIVERSITY

                             Plaintiff

                       -versus-                                               VOLUME

          YALE    UNIVERSITY

                               Defendant




                             Deposition         of    YOUNG      KYO     OH     taken

      pursuant            to      the   Federal       Rules      of     Civil       Procedure

      at        the    Law     Offices     of    Day     Pitney          LLP          Audubon

      Street            New       Haven    Connecticut                 before       James

      Martone             LSR      248     and       Notary      Public         in    and   for


      the        State       of    Connecticut           on     September           15 2010

      at       1015       a.m




                                                     Sanders    Gale      Russell

                                                         203     624    415
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DONGGUK                       YALE             UNIVERSIlY                                                                                                                                                                          September                    15    2010



                                                                                                                                Page    66                                                                                                                     Page   68


       enlarge           it    much                 You          know               what       why         dont           we                                          It   refers        to    the       long term           project       of

       take                         short           break           so        we      can     try    and        do                                    the     school
                       very
       that                                                                                                                                                           Is   that        something              that      you       initiated

                              THE VIDEOCRAPHER                                                      Off    the        record                                          Yes
       309                                                                                                                                                            What         is   the        significance              of   the    number
                              MR           FETNER                             Mark        this      as    3A                                          108
                              Defendants                            Exhibit           3A      marked                                                                Various              meanings                   The number 108                        in


                    For identification                                                                                                                Buddhism               represents                 the     number of            difficulties


                              THE VIDEOORAPHER                                                      On     the        record                          thats     discussed                in    Buddhism when                       it
                                                                                                                                                                                                                                        says        that

 10    32                                                                                                                                      10     there     are        difficulties             we        have      to   overcome                 They
 11                     As           look           at this              it    looks         like    we                                        11     say     there        are     108        difficulties             to    overcome                Its

 12    inadvertently                      included                  an        extra       page        or   maybe                               12     rather     symbolic                    because            the    number 108               is     has

 13    have       these            in the           wrong order                                                                                13     certain       significance                    in    Buddhism
 14                           MR          WEINER                              No          think      what                                      14                   Were           there          actually            108    projects          as

 15    happened                is    it   took           the        bottom             from         the    top                                 15             of your plan                   to    reform           Dongguk
                                                                                                                                                      part
16                            MR          FETNER                              The     last
                                                                                              page         is    on                            16                   We       created               108 tasks

17     the    front           is    that        it                                                                                             17                   Did       you        actually             implement            each        of
18                            MR          WEINER                              Yeah           Youll         notice                              18     those     108         tasks
19    they were                cut        in    half                looked             at    that                                              19                   Asofwhen
20    dont think                   its          problem                  though                                                                20                   As of today                     have                done       that
                                                                                                                                                                                                                you
21                            MR          FE1NER                          The first            page        should                              21                          MR CHO                       Objection              Implement
22    really        be       the     fourth              page            it    looks         like                                              22     he    used       the    word implement right                                      Implement
23                            MR
                            WEINER Yeah                                                                                                        23     here     means             in      kind        way proposed
24                     Mr Oh Id like to you turn                                               to    what            is                        24                   Have you performed                                the    tasks

25    the     second_page                       of       the     enlarged                 documont                                             25                          THE          INTERPRETER                            Thats      the
                                                                                                                                                           _____
                                                                                                                             Page       67                                                                                                                     Page   69


      Probably                the       first
                                                    page            of     the      smaller          document                                         meaning
                             MR           WEINER                              You     may want                  to    ask                                           Ever          since            became             the    President              the

      the    witness               to     put       it    in the              right       order           He                                          movement               to    carry          out those            tasks      has been

      could                                                          out                                                                                                         These            tasks       are     related      to the           basic
                  probably                     figure          it                                                                                     continuing
                             MR           FETNER                          Okay                                                                        direction              Depends               on     the    task        Certain           tasks

                       Second                                                                                                                         can     be completed                    in    one       year          Certain      tasks
                                           page
                             MR           WEINER                           Can we             do this                                                 would        takemany years
      Could         we mark on                        the        exhibit              physically               what         the                                     When you became                              President of             Dongguk               in


      order of           the        pages            ought           to        be     so     we know                                                  March         2007              did you            believe        that      Dongguks                 image

10                           MR           FETNER                          Yeah            absolutely                                           10     needed        to      be transformed                      from domestic                  to

11    Id     like      the     record               to    be correct                                                                         11       international

12                           MR           \VEINER                          Madam              interpreter                                    12                    Yes
13    could                               ask        the       witness to                    with          pen                                 13                  Also           in    March             2007         did     you      believe
                  you         just

14    indicate           which                              the          document should                             be    in                14      that     Dongguks                  image            needed         to   be transformed
                                           pages
15                                                                                                                                             15     from     traditional               to       forward
      order         so    that          page               may be in the exhibit page                                                                                                                               looking

16          SO   we know                       we     have    some way of determining                                                        16                    Yes
17    the    order of               the        document                                                                                        17                  Also           in    March             2007         did     you      believe

18                        THE INTERPRETER                                                    Would         you            like               18      that     Dongguks                  image            needed         to   be transformed

19    number            --     him        to write               down               the     correct        numbers                             19     from     consenative                     to    progressive

20    with       the     correct               corresponding                          page        numbers                  from              20                            IHE INTERPRETER                                     From
21    the    original              document                                                                                                  21      conservative                 to    --


22                        MR              WEINER                           Yes                                                               22                            MR          FETNER                   Progressive
23                        MR              FETNER                          Yes         exactly                                                21                    Not        in
                                                                                                                                                                                       every        aspect
                                                                                                                                                                                                                      but because               have

24                     Yes                                                                                                                   24      the     feeling         that       the       word progressive                        is    not

25                     Mr Oh                   what         is      the        108        Proiect                                            25       precise              would say innovative and                                 flexible              and



                                                                                                                                                                                                          18           Pages                        66         to     69
                                                                                                                      Sanders           Gale          Russell

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DONGGUK                          YALE           UNIVERSITY                                                                                                                                                                       September                       15 2010


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       the        attitude              where         one        would          one     can        change           it              ii       and         forth

       necessary                        And          thought            the     school           has    to     be                   j2                              MR           WEINER                   The         real      question               is

       taken           into        that     direction                                                                                        is    the    translation               --


                            When           did       Dongguks                  UI renewal               project                                                     THE          INTERPRETER                                Im        going         to


       begin                                                                                                                                 translate              your question based                              on     yours
                                 dont      recall           precisely           when         it
                                                                                                  was                                                               MR         FETNER                     Sure but                    mean Bob
       but         do        recall        at         policy            committee            meeting               was                       is
                                                                                                                                                   right        what        im        getting          at      here        is    is   the

       held around                      August                                                                                               English           translation                 in the       document an accurate
                            Was         that     meeting               the     start   of    the        UI                                   translation              of     the      Korean
 10    rcnewal               project                                                                                                  10                            MR         WEINER                     He cant answer                           that

 11                         After each               dopartment                 forms         searching                               11                            MR         FETNER                          understand               that

 12    for     independent                      tasks        and        those        ideas        would be                            12     Thats         why           Ive     asked          him       the        question
 13    reviewed                  and      discussed                at the       --                                                    13                            MR         WEINER                     So         Im     asking           the

 14                              MR CHO                      Policy committee                                                         14     interpreter              to    look         at     it


 15    meeting                                                                                                                        15                            Pause          in the            Proceedings
 16                     Policy committee                               meeting              So you can                                16                            MR         WEINER                     Is    it    an    actual

 17    say     the          beginning                of     that       plan     was around                  that                      17     accurate           translation                     Thats           what         were asking
 18   time                                                                                                                            18                            THE INTERPRETER                                             dont     see        that

 19                     Id        like     you        to     look        at   what          think        is                           19     portion                 dont        see       background
20    the     second               page         of    the        enlarged            version of             this                      20                            MR         WEINER                     So        thats       the     --


21                      Yes                                                                                                           21     English           is    lot    more extensive than Korean
22                      Does item number                                     at the    top of           that                          22                            MR         WEINER                     Could            you        translate

23    page         indicate               that       l-Iolistic         UI     Development                     was                    23     the    Korean
24    selected              as     the      17th       project            ofthe        108        Project
                                                                                                                                      24                            THE        INTERPRETER                                  Yes
25    in     March                2007                                                                                                25     Background                     Number

                                                                                                                     Page      71                                                                                                                           Page     73


                             TIlE          INTERPRETER                                  think          we     are                   Ii                              MR         WEINER                   Just         read        the    Korean

      looking               at    the     wrong page                                                                                         Forget           the    English                Dont          even         look       at    the

                       its        the     first
                                                     page          of Exhibit                    which                                       English                Just    read         as     you     were
      is    the    smaller               version                   think       its the       second                                                             THE            INTERPRETER                                  Right

      page        of    the            larger     version                                                                                                     All     --just        so        its     clear          all    Im
                             MS LU                    It    is    the     second        page                                                 interested              in    now        is    number                    and then              the     three

                       Yes                                                                                                                   lines       of    the    Korean               text       underneath                 it

                             THE INTERPRETER                                          We     still      havent                                                      THE        INTERPRETER                                  Right

      located           the        portion             corresponding                    portion                                                                     MR         WEINER                   Thats              what        shes

10    Could you show me                                    the    --                                                                  10     gonna        read

11                     Thats             what         Im         asking        about                                                  11                        THE            INTERPRETER                                  At    the       point

12                           MS LU                    Why          dont        you     ask        the                                 12    when          Dongguk                Universitys                    image           should            be

13    question again                                                                                                                  13    transformed                    from       domestic                 to    international                  and

14                           MR
                            FETNER Sure                                                                                               14     from conservative                         to future               --    futuristic              and

15                     Mr Oh my question is                                         whether          the                              15     from conservative                         to     progressive                   image has been
16    portion           of       the      document                 that       ive    just     indicated                               16         started       with         Dongguks                   image           should           be     --   has

17    states       that           in    March              2007         Holistic            UI                                        17    been         the    consensus                  of    inside             and     outside           of

18    Development                        was      selected              as    the     17th        project           of                      school

19    the     108       projects                                                                                                      19                        At        this point             --   UI renewal                  of    at


20                           MR           WEINER                       Maybe          the    easiest                                  20    that     time       holistic            UI renewal                      has been           selected

21    thing       to    do             could          ask        the     interpreter              Id                                  21    as     the    17th        task       of    the       108        Projects              Ihats

22    like    to     ask the              interpreter               really      what         youre                                    22    whats written
23    asking           is    if   the      English               translation           is    accurate                                 23                        see        in the        Korean             the        number 2007
24                           MR           FETNER                       Its    much      easier                                        24    Followed                by     the     number
25                           MS LU                   Shes          translating              back                                      25                        THE INTERPRETER                                             Yes Oh                  and     it




                                                                                                                                                                                                     19              Pages                     70           to      73
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